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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION

 

PATRICK BAUMGARTNER, Civ. #05-40'78

Plaintiff,
FrRsT AMENDED CoMPLAINT AND
VS- DEMAND FoR JURY TRIAL

FARMLAND MUTUAL INSURANCE
COMPANY,

Defendant.

 

 

COMES NOW, the Plaintiff, Patrick Baumgartner, by and through his counsel of record,

and for its causes of action against the Defendant, does hereby state and allege as folloWs:
NATURE OF THE ACTION

This is a diversity suit to recover underinsured motorists coverage (UIM) brought by
Plaintiff Patrick Baumgartner against Defendant Farmland Mutual Insurance Company
(“Farmland Insurance”). Baumgartner was severely and permanently injured in an automobile
accident that occurred Within the scope of his employment With Broin & Associates, Inc. He
exhausted the minimal limits available on the policies of the tortfeasor and vehicle responsible
for the accident, and now seeks to be made Whole pursuant to the underinsurance coverage
available to him as an insured under his employer’s policy With Farmland Insurance.

PARTIES
l. Plaintiff Patrick Baumgartner is a citizen of the State of South Dakota and

resident of Minnehaha County.

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2. Upon information and belief, Defendant Farmland Mutual lnsurance Company is
a corporation duly organized and existing under the laws of the State of lowa, with a principal
place of business located at 1963 Bell Avenue, Des l\/loines, lowa, which at all relevant times
Was duly authorized to issue insurance policies in the State of South Dakota. Farmland
lnsurance is an affiliated company of Nationwide Mutual lnsurance Company, an Ohio mutual
insurance company with its principal place of business in Columbus, Ohio.

JURISDICTION AND VENUE

3. Plaintiff invokes the jurisdiction of this Court pursuant to 28 U.S.C. § 1332 based
upon the diversity of the parties. The amount in controversy exceeds the sum of $75,000.

4. A substantial part of the events giving rise to this action occurred in South
Dakota, and thus, venue is proper in this Court pursuant to 28 U.S.C. § l391(a)(2).

EAC_TS_

5. At all times relevant to this action, Plaintiff Patrick Baumgartner was an
employee of Broin & Associates, Inc. (“Broin”), a designer and builder of ethanol plants, located
in Sioux Falls, South Dakota.

6. Defendant Farmland lnsurance provided business auto coverage to Broin and its
employees pursuant to an insurance policy issued as Policy Number CA 850500A (“the Policy”).
See Exhibit A. The Policy was renewed, fully paid, effective, and in force from January l, 2004
through January l, 2005 .

7. The Plaintiff was an insured under the Policy, which provided underinsurance
coverage to Broin and its employees, including the Plaintiff, up to a limit of one million dollars

($1,000,000). S@@ Exhibits A & B.

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8. On March 17, 2004, while the Policy was in force, the Plaintiff was severely and
permanently injured in an automobile accident while driving a vehicle owned Broin, and while
acting within the scope of his employment See Exhibit C. The accident and the Plaintiff s
resulting injuries and other damages were the fault of Adam Wiersma The vehicle that Wiersma
was driving slid through an intersection, and the Plaintiff was struck by a pickup that was trying
to avoid Wiersma’s vehicle. The collision between the third vehicle and Plaintiff’s vehicle was
solely and proximately caused by Wiersma’s negligence Wiersma subsequently pled guilty to a
citation filed against him as a result of the accident.

9. The tortfeasor and the vehicle that he was driving were underinsured. Adam
7 Wiersma had personal liability insurance limits of only $50,0()0. An additional $lO0,000 in
coverage was available from the policy held by Paul and Glee Wiersma (parents of Adam
Wiersma), the owners of the vehicle that struck and injured the Plaintiff. These policy limits
were substantially less than any amount reasonably necessary to compensate the Plaintiff for his
injuries and other damages sustained in the accident.

lO. The limits of both policies were tendered to Plaintiff. Pursuant to the procedure
detailed in Schmidz‘ v. Clothz'er, 338 N.W.Zd 356 (Minn. 1983), Farmland lnsurance was placed
on notice of the tender of limits and was offered the opportunity substitute its own draft.
Plaintiff informed Farmland lnsurance that it would allow a credit in the amount of the
settlement against any liability which might be found to exist in further proceedings against
Wiersma or against Farmland lnsurance directly on UIM coverage. Farmland lnsurance declined

and waived the opportunity to substitute its draft or object to the settlement

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ll. On or about September 8, 2004, the Plaintiff accepted the limits on the two
policies covering the tortfeasor and his vehicle and entered into a Release and Indemnity
Agreement See Exhibit D.

12a The Release and lndernnity Agreement included the following provision: “It is
acknowledged by all parties hereto that a policy of underinsurance coverage is in place to
supplement the coverage afforded the Baumgartners, issued by Farmland Mutual lnsurance
Company in the amount of $1,0'00,000. Nothing in this agreement limits or confines the
Baumgartners’ access to those benefits. Prior to the release, the said underinsured carrier was
put on notice to either substitute its draft (to retain subrogation rights against Releasees
hereunder) or to waive those rights. The parties acknowledge that the underinsurer has waived
those rights.” Exhibit D.

l3. The insurance limits received from the policies covering the tortfeasor pursuant to
the Release and Indemnity Agreement do not even come close to fully compensating the Plaintiff
for his serious and permanent injuries and other damages that he suffered in the automobile
accident caused by the tortfeasor’s negligence

14. Plaintiff thereafter made a timely demand on Defendant Farmland lnsurance for
payment of Plaintiff’s uncompensated damages as provided by the terms of the Policy, and
Defendant refused and still refuses payment of the demanded sum or any sum that will
adequately compensate Plaintiff for his physical injuries and other damages

COUNT ONE
15. Plaintiff hereby realleges paragraphs l-l4 and all previous paragraphs and

incorporates them as though fully set forth herein.

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16. By virtue of its Policy of insurance in effect on March l7, 2004, and Plaintiff" s
status as an insured under the policy, Defendant Farmland lnsurance is contractually obligated to
pay Plaintiff underinsured motorist benefits as a result of the automobile accident caused by the
tortfeasor that occurred while the Plaintiff was driving a vehicle owned by Broin within the
scope of his employment with Broin.

l7. Defendant Farmland Mutual lnsurance breached its duty to pay Plaintiff
underinsured motorist benefits pursuant to the Policy.

18. Defendant’s breach of its duties under the Policy has resulted in substantial
damages to the Plaintiff.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays for the following relief:
l. For judgment against the Defendant in an amount to be determined by the jury

that will fully compensate Plaintiff for the severe and permanent injuries and all
other damages that he has sustained;

2. For prejudgment and post-judgment interest;
3. For costs and disbursements herein; and
4. For such other and further relief as the Court deems just and equitable

oath this 15th day OfJune, 2005.

JoHNso , HEn)EPRIEM, MINER
MAS:j;(A/(S;meow, LLP

BY {\--'~'\
scott N. Heideprietln

Scott A. Abdallah

Ronald A. Parsons, Jr.

P.O. Box llO7

Sioux Falls, SD 57101-1107
(605) 338-4304

Atz‘orneysfor the Plaintiij

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on aYsues so triable.
/t

 

Scott N. Heidepriem

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing First
Amended Complaint and Demand for Jury Trial was served by first class United States mail,
postage prepaid, upon the following individual:

Stuart Shkolnick

Commercial Claims Specialist

Farmland Mutual lnsurance Company

1100 Locust Street, Dept. 3010

Des Moines, IA 50391-3010

naer this 15th day OfJune, 2005. /

 

Scott N. Heidepriem

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- Farmlan§! insurance
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Pou\ni< _ lourie/2004
BUS|NESS AUTO COVERAGE FORM

DECLARATION

l j 12:01a.m. Standarcl Time, at
g New Renewal ' E Endors'ement - Efl‘ective:f)‘l/D’l/ZODA l YGW lOCEi|Gn 33 Stated herein-

. Replaces any previous declaration bearing
the same number for-this policy period.

lssued Ey:FARMLAND MUTUAL ii\iSURANCE CD

 
   

BROH‘\| AND ASSOCIATES |NC

 

Policy Number: CA BEOSOOA

 

Client Number' 0000850500 '
1107 HAZELT|NE BLVD
SUlTE 305 - PALMER & CAY OF MINNESOTA
CHASKA MN 55313 6600 C|TY WEST PKWAY #205
‘ EDEN PRAER[E MN 55344

_ Phone Number: 952-983~5820
Policy Period: From 01/01/04 To 01/(]1/05 '

12:01 A.M. Standard 'l'ime at your mailing address.
Fon'n of Business: CGRPORAT|ON

Descrlption of Business: DES|GNER & BUlLDER OF ETHANOL PLANTS

ln return for the payment of the premium, and subject to all the terms of this poliey, we agree to
provide you with the insurance as stated in this policy.

Enclorsements Attached to this Policy:- See' Schedule of Polle Farms and Endorsements

Countersignecl:

By
Date

Authorized Representetive

EXH|B|T
Cc AEr14o 0902 lnr:ludss copyrighted material of lnsurance Servi¢:es office |nc.

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l=silsy rsrm: billet/04 to mmi/2005 Errsssvs: mmi/2004
Policy Number: CA 3505UOA `

 

iTEM TWO: SGHE|jULE CiF CCVERAGES AND COVERED AUTOS
Thl's policy provides only those coverages where a charge is shown in the premium column below. Each of _
these coverages Wll| apply only to those autos shown as covered autos.` Autos are shown as covered autos

for a particular coverage by the entry of one or more of the symbols from the COVERED AUTO Section of the
Eusiness Auto Coverage Fon'n next to the name of the coverage ‘

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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lNSURANCE (PPI} (Mlchlgan only) minus
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4 endorsement _ _
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{Where available) ` . l
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l ` Deductib|e for each covered auto. But no
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_ Or Borrowed Autos.
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*Thls policy may be subject to audit *Est|mated Tota| Premium $ 25 ' 957

 

 

 

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Psllsy rsms 01101!04 to cum/2005 ' ' Errssiivs: 01/01/2004

Policy Number CA BSOBOOA
lTEM THREE: '

@ Schedule of Covered Autos You Own - See Schedule
E Composite Rate Policy - item three does notapply; See Composl'te Raie Endorsemem‘.
lTEM FDUR: 'Sched ule of l-lired or Eorrowed Covered Auto Coveraoe and Premiums

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Cost of hire means the total amount you incur for the hire of autos you don’t own (not including autos you
borrow or rent from your partners or employees or their family members). Cost of hire does riot include
charges for services performed by motor centers of property or passengers

PHYSiCAL DAMAGE COVERAGE .

 

 

 

 

  
 

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ITEM THREE - SCHEDULE OF CDVERED AUTOS YOU OWN

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Scheclule of Policy Forms and Endorsements

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CA BSOEODA Schedule of Policv Forms 11th

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Supplementary Scheclule - Terrorism

‘ l ` 1 12:01a.rn._ Standard Time, at
E New Renewal [1 Enclorsement - Etfective:O1/O1)'2004 1 YUUF location as Stafed herein
lSSued By: FARMLAND MUTUAL lNSURANCE CO

Rsp|aces any previous deotaration bearing
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EROIN AND ASSOC|ATES |NC

       
   

   

   

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1107 HAZELTINE BLVD _
SUITE 305 PALMER 81 CAY OF M|NNESOTA
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Form of Eueiness: _CORPORAT|GN

Descriptiorl of Busil'less: DES|GNER & BUILDER OF" ETHANOL PLANTS"

ln return for the payment of the premium1 and subject to all the term

s of this policy, we agree to
provide you with the insurance as stated in this policy.

DlSCLOSURE OF FEDERAL PART|C|PAT|ON tN PAYMENT OF TEFtRORlSM LOSSES_
The United States Govemment, De

partment of the Treasury, will pay a share of terrorism losses
insured under the federal prcgram. The federal share equals 90% of that portion of the amount of
such insured losses that exceeds the applicable insurer retenticn. - `

DlSCLOSURE QF TERRDR|SM PREMIUM _
(Terrorism premium is subject to change with adjustments to the base policy premium, including audtt.)

Commercial Auto
The coverage offer for losses arising out of acts cf terrorism as drained in Section 102(1) of the
federal Terrorism Risl< lnsurance Act of 2002 has been rejected. The signed rejection'request is
on tile with.the company. _ ' .

 

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~ 4

The portion of your premium attributable tc statutory coverage required by the state are:

 

State 1 l Liabiiity. Uninsured and/or Underinsured Motorists and
Personal injury Protection Coverage (where required}**

 

 

 

 

 

**in Connecticut, Kansas, Kentucky, New Jersey, and Oregon, tor Liability, Uninsured and/or
tinderinsured Motorists Coverage and Personai injury Protection Coverage in this state, the terrorism
exclusion applies above the minimum limits required for these coverages by the state's Financial
Responsibility Statutes and/or l`viotor Vehicle Liability insurance Statutes. Theretore, if you reject the
offer of terrorism ooverage, that rejection does not apply to losses resulting from an act of terrorism, for
limits up to the minimum state compulsory limits of insurance for Liabi|ity, Uninsured and/or `
Underinsured Motortsts, and P`ersona| injury Protacticn Coverage. ~

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MANDATDRY ENDGRSEMENT

MUTUAL POL!CY COND|T|ONS

MUTUALITY., Because this policy is issued by a mutual insurance company, you are a member of
the Company while this policy is in force. Whiie a member, you are entitled to one vote oniy, either
in person or by proxy,.at meetings of the Company. 'l’ou are entitled to any dividends which are
declared by the Bcard of Directcrs and are applicable to coverages in your policy.

NO CONT|NGENT LiABlLiTY. The policy is non-assessable meaning that you are not subject to
any assessment beyond the premiums we require for each policy termj

DATE OF ANNUAL MEETlNG. The annual meeting of members of the Company will be held at the
Home OfEce in Des Moines, iowa, on the Thursday preceding the fourth Friday of lViay at 9:00
a.m., if not a legal holiday, then on the day following attire same time. We will mail notice of any

change in meeting dates, time or place to you at your address last known.to us at least twenty
(20) days prior to the rescheduled meeting date.

_lN WlTNESS WHEREOF, Farmiand Mutual insurance Company has caused this policy to be signed

by its President and Secretary at Des Nloines, iowa, and countersigned by a duly authorized
representative of the Company.

ATTEST:

1110¢11“"1 aetna

Secretary President

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Thr`

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ lT CAREFULLY

NAMED iNSUREDS ENDORSEMENT

easement modir'res insurance provided under the foilowing:

Eoiler and Machinery Coverage Part

Commerciai 'Automobiie Coverage Pari:

Commercia| Crime Coverage Part

Commerciai General Liabiiity Coverage Part

Commercial inland iliiarine Coverage Part

Commerciai Property Coverage Part _

Commercial Or.rtput Policy - Property Coverage Part'
Commarciai Output Policy - income Coverage Part '

Wcrkers' Compensation and Employers‘ Liabiiity Coverage Part

The insurance afforded under this policy applies to ali persons or organizations listed in the
SCHED`ULE below as named insureds, subject to the following provisions:

1.

BRDIN AND ASSOCIATES INC-

The first named insured is authorized to acton behalf of each named insured in ali matters _
pertaining to this insurance . '

Any return premiums shall be paid to the first named insured.

`l'he irst named insured declares that ali firms named in the policy as named insureds are
owned or iinanciaiiy controlled by the same interests '

Scheduie of Nameci insureds

AGRI ~POLYMER.IX LLC

ALL DTHER CONDIT|ONS AND PROV|S|CNS OF THE POL|C|ES REMAIN` UNCHANGED BY TH|S
ENDORSEMENT. _ - .

MLXB148 0600 Page 1 Of 1 ' VSF

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POLiCY NUMBER: CA BSOSDOA . CLiENT NUMBER: 0000850500

TH|S ENDORSEM_ENT CHANGES THE POL|CY. PLEASE READ IT CAREFULL`Y.|

cALcuLATroN oF PRErvrrui/r

This endorsement modifies insurance provided under the foilowing:

BOILER AND i\riiC\CHli"iER‘ir COVERAGE PART

CAP|TAL ASSETS PROGRAM {OUTPUT PCJL|CY) COVERAGE PART
COMMERC£AL AUTOMGB|LE COVERAGE PART

COMMERC|AL GENERAL LIABIL|TY COVERAGE PART
COMMERCiAL iNLAND MARiNE COVERAGE PART

COMMERC|AL PROPERTY COVERAGE PART `
CRIME AND FiDELiT"r" COVERAGE PART

EMPLOYMENT- RELATED PRACT|CES L|ABIL|T`T' COVERAGE PART
FARM COVERAGE PART 4

LlQUOR LIABIL|TY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LiAB|LiTY COVERAGE PART
POLLUT|ON LiABii_iTY COVERAGE PART '
PRODUCTS/COMPLETED OPERATlONS LiAB|L|TY COVERAGE PART
PROFESS|ONAL LiABiLiTY COVERAGE PART

RA!LROAD PROTECT|VE L|ABiL|TY COVERAGE PART

-`i'he following is added:

The premium shown in the Deciarations was computed based orr rates in effect at the time the
policy was issued, On each renewai, continuation, or anniversary of the effective date of this
policyl we will compute the premium in accordance with our rates and rules then in effect

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D.

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|L00171190

COMMON POL|CY COND|T|ONS

Ai| Coverage F'arts included in this policy are subject to the following conditions
A. Canceiiation

'i. The first Named insured shown in the Dec-
iarations may cancel this policy by mailing or
delivering to us advance Written notice of
cancellation

2. We may cancel this policy by mailing or de-

livering to the first Named insured written
notice of cancellation at least:

a. 10 days before the effective date of can-
cellation if we cancel for nonpayment of
premium; cr

b. 30 days before the effective date of can-
cellation if we cancel for any other
reason.

3.` We Wi|i mail or deliver our notice to the first
Named insureds last mailing address known
to us. -

4. Notice`of cancellation will state the effective

date of cancellation The policy period will _

end on that date.

5. if this policy is cancelled. we will send the
first Named insured any premium refund due.
if we cancel, the refund will be pro rata. if the
first Named insured cancels, the refund may
be less than pro rata. The cancellation Wil| be
effective even if we have not made or offered
a refund.

6. if notice is mailed, proof of mailing will be
sufficient proof of notice.

Changes

This policy contains all the agreements between
you and us concerning the insurance afforded
The first Named insured shown in the Declara-
tions is authorized to make changes in the terms
of this policy with our consent This'policy’s
terms can be amended or waived only by
endorsement issued by us and made a part of this
policy.

Examination Of Your Books And Rec_ords

We may examine and audit your books and
records as they relate to this policy at any time
during the policy period and up to three years
afterwardl

inspections And Surveys
1. We have the right to:

a. Make inspections end surveys at any
time; .

Ccpyrlght, insurance Services' Oft`rce, inc., 1998

b. Give you reports on the conditions we
frnci; and

c. Recommend changes

2. We are not obligated to make any inspections
surveys, reports or recommendations and any
such actions we do undertake relate only to
insurability and the premiums to be charged.
We do not make safety inspections We do
not undertake to perform the duty of any
person or organization to provide for the
health or safety of workers or the pubilc. And
we do not warrant that conditions:

a. Are safe or healthful; or

b. Compiy with laws,l regulations codes or
standards

3. Paragraphs 1. and 2. of this condition apply
not only to us, but also to any rating, ad-
visory, rate service or similar organization
which makes insurance-inspections surveys,
reports cr recommendations

4. Paragraph 2. cf this condition does not apply
to any inspections, surveys, reports or recom-
mendations we may make relative to certifi-
caticn. under state or municipal statutes, or-
dinances or regulations, of boilers, pressure
vessels or.eievators. ~

. Premiums

The first Named insured shown in the Dec-
larations: '

1. is responsible for the payment of' all
premiums; and

2. Wili be the payee for any return premiums we
pay. _

. Transfer Of Your nghis And Duties linder This

Policy

‘rour lights and duties under this policy 'may not
be transferred_without our written consent except
in the case of death of an individual named
insured.

-if you dle, your rights and duties will be

transferred to your legal representative but only
while acting within the scope of duties as your
legal representative Unti| your~ legal represen-

. tative is appointed, anyone having proper tem-

porary custody of your property will have your
rights and duties but only with respect to that
property. '

Hart Fom'rs a Sarvlces
Raurder No. 14»5234

Page 1 of 1

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This endorsement modiHes insurance provided u

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THlS ENDORSEMENT CHANGES THE PCLICY. PLEASE READ lT CAREFULLY.

NUCLEAR ENERGY LlAB'lLlTY EXCLUS|ON
ENDORSEMENT

COMMERCLAL AUTOMOB|LE COVERAGE PART

COMMERC|AL GENERAL LlAElLlTY COVERAGE PART

FARM COVERAGE PART
LlQUOR L|ABlLlTY COVERAGE PART

[Eroad Form)
nder the following:

OWN ERS AND CDNTRACTORS FROTECTlVE LlAB|LlTY COVERAGE PART

POLLUTION LlABlLl'i'Yr COVERAGE PART

PRODUCTSJCOMF'LETED OPERAT|DNS l_lABlLlTY COVERAGE PART

PROFESS|ONAL LlAB|LlTY CGVERAGE PART

RA|LROAD PROTECT|VE LlAB|LiTY COVERAGE PART

UNDERGROUND STORAGE TANK POL|CY

The insurance does not apply:

` iiio Under any Liabiiity Covelrage, to "bodily inju-

ry" or "property damage :

(1) With respect to which an"'lnsured" under
the policy is also an insured under a nu-
clear energy liability policy issued by Nu-

, clear Energy Liability insurance Associa-
tion, Mutual Atomic Energy Llabillty Un-
denivriters, Nuclear insurance Associatlon
of Canada or any of their successors or
Would be an insured under any such poli-
cy but for its termination upon exhaustion
of its limit of liability; or

(2) Resulting from the "hazar`cipus properties"
of "nuc|ear material" and with respect to
which (a) any person or organization is re-
quired to maintain financial protection pur-
suant to the Atomic Energy Act of 1954,
or any law amendato »thereof, or (b) the
"insured" ls, or had t is policy not been
issued Would be, entitled to- indemnity
from the United States of Amer|ca, or any
agency thereof, under any agreement en-
tered into by the United States of Amer-
ica, or any agency thereof, with any per-
son or organization

B. Under any Nledical Payments coveragel to ex-
penses incurred with respect to "bodily inju-
ry"~ resulting from the “hazardous properties"
of "nuc|ear material" and arising out of the
operation of a "nuc|ear fecility" by any person
cr organization

C. Under any Llabiiity Coverage, to "bodily inju-
ry" or “property damage" resulting from "haz-
ardous properties" of "nuc|ear material". if:

('l) The "nuc|ear material" (a) is at any "nu-
clear facility" owned by, or operated by or

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on behalf of, an "insured" or (b) has been
discharged or dispersed therefrom; .

(2) The "nuclear material" is contained in
"spent fuel" or "waste" at any time pos-
sessed, handled, used. pmcessed, stored,
transported or disposed of, by or on be-

half of an "insured"; or

(3) The "bodiiy injury" or "property damage"
arises out of the furnishing by an "in-
sured" of services materials parts or
equipment in connection with the plen-
ning, construction,¢ maintenance opera-
tion or use of any "nuclear facility", but if
such facility is located within the United
States of America. its territories or pos-~
sesions or Canada, this exclusion (3) ap-
plies only to "property damage" to such
"rttucleer facility" and any property there-
a. .»

2. As used in this endorsement

"Hazardous properties" includes radioactive toxic
or explosive properties

"Nuciear material" means "source material",
"?"pecral nuclear material" or "by-product materi-
a l .

"Source material". "special nuclear materiai", and
"by-lproduct materiel" have the meanings given
them in the Atomic Energy Act of 1954 or in any
law amendatory ,thereof. ‘

"Spent fuel"' means any fuel element or fuel com-
ponent, solid or llquid, which has been used or
exposed to radiation in a "nuc|ear reector*'.

"Waste" means any waste material (a] containing
"by-product material“ other than the tailings or
wastes produced by the extraction or concentra-
tion cf uranium or thorium from any ore pro-

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ceased primarily for its "source material" contant, equipment or device is located consists of
and (b) resulting from the operation by any per- or contains more than 25 grams of pluto-
son or organization of any "nuclear facility" in- nium or uranium 233 or any combination
cluded under the first two paragraphs of the defi- thereof, or more than 250 grams of urani-
nition cf "nuclear facility". um 235; _
"Nuclear facility" means: (d) Any structure basin,‘excavation. premi-
(a] Any ..nuciear reactor,.; ses-or place prepared or used for the stor-

age or disposal of "waste";

(b) §§ ?g:.‘i?,'l")‘e;;p:'r'at?$h§:e ‘ji:§|t%"r']ee‘; §§ and includes the site on which any of the forego-

. . . ing is located, all operations conducted on such l
uranium or plutonium. (2) processing or - -
umizing ,.Spent fue|,.’ or (3) handling pm_ site and all premises used for such operations

cessing or packaging "waste"; "Nuclear reactor" means any apparatus designed

. . or used to sustain nuclear tission in a self-
(°) §§gs§;?'&“g§g;§gg¥°§|g;;;fgi'; It.|;:g&;`i supporting chain reaction or to contain a critical

nuclear material" if at any time the total mass of nsswnab|e materiai'
amount of such material in the custody of "F'roperty damage" includes all forms of radioac-
the "insured" at the premises where such tive contamination,of property

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POL|CY NUMEER: ca ssosooA iL 09 85 01 03

TH|S ENDDRSEMENT lS AT|'ACHED TD AND MADE PART GF YOUR POL|CY |N
1 RESPGNSE TO THE DlSCLDSURE REQUIREMENTS OF THE TERROR|SM RlSK |NSURANCE
ACT OF 2002. TH|S ENDORSEMENT DOES NOT GRANT ANY CDVERAGE OR
CHANGE THE TERMS AND COND|TIQN§ QF A!*!Y QD'*JERAGE UNDEE THE PGL§C"f.

DlSCLOSURE PURSUANT TO TERROR|SM RlSK
INSURANCE ACT OF 2002

SCHEDULE*

 

Terrorism Premium (Certified Acts) $ 0

lie.dditionai informatlan, if eny, concerning the terrorism premium:

 

information required to complete this Schedule, if not shown on this endorsement, will be shown in the

 

 

 

 

Deciarations.
A. D|sciosure Of premium Ei. Disciosure Of Federai Participation l`n Payment

in accordance with the federal Terrorism Risk ofTamrism L°sses
insurance Act`of 2002, we are required to The United States Govemment, Department of
provide you with a notice disclosing the portion the Treasury. will pay a share of terrorism losses

y of your premium, if any, attributable to coverage insured under the federal program. The federal
for terrorist acts certified under that Act. The share equals 90% of that portion of the amount
portion of your premium attributable to such of such insured losses that exceeds the
coverage is shown in the Scheciule of this applicabte insurer retention.

endorsement or in the policy Declarations.

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|L 02 76 07 02
TH|S ENDDRSEMENT CHANGES THE POLlCY. PLEASE READ lT CAREFULLY.

lOWA CHANGES - CANCELLAT|ON AND NONRENEWAL

This endorsement modifies insurance provided under the following:

BOILER AND MACH|NERY CDVERAGE PART

CAPITAL ASSETS PRCGRAM (OUTFUT POL|CY) COVERAGE PART
COMMERC|AL AUTOMOB|LE COVERAGE PART

CDMMERCIAL iNLAND MARlNE COVERAGE PART

CONIMERClAL GENERAL LIAB|LITY COVERAGE PART
COMMERC|AL PROPERTY COVERAGE PART

CRlME AND FlDELlTY COVERAGE PART

EMPLOYMENT-RELATED PRACTICES L|ABlLlTY COVERAGE PART
FARM COVERAGE PART

LlQUOR LlABlLlTY COVERAGE.PART

POLLUT|ON LlABlLlTY COVERAGE PART

PRODUCTSICOMPLETED OPERATIONS L|AB|LlTY COVERAGE PART
PROFESS|ONAL LlAEi|LlTY COVERAGE PART

A. The Canceilatlon Common Policy Condition is re-.
placed by the foilowing:

CANGELLAT|ON

1. The first Named insured shown in the Decla-
rations may cancel this policy by mailing or
delivering to us advance written notice of can-
celiation.

2. Cance|lation Raquiraments

a. We may cancel this policyr by mailing or
delivering to the first Named insured and
any loss payee written notice of cancella-
tion at least: '

{3) Acts or omissions by you that sub-
stantialiy change or increase the risk
insured;

(4) Determination by the Commissioner
that the continuation of the policy
would jeopardize our solvency or
would place us in violation of the in-
surtance laws of this or any other
sta e;

(5) You have acted in a manner which
you knew or should have known was
in violation or breach of a policy term
orcondib`cn; or

l'L 02 ?6 07 02

('l] 30 days before the effective date of

cancellation if We cancel due to loss _

of reinsurance coverage;

(2) 10 days before the effective date of
cancellation if we cancel for any other
reason. »

b. if this policy is a new policy and has been n

(6) ;_oss of reinsurance, subject to d. be-
ow.

d. We may cancel due to loss of reinsurance
which provides coverage to us for a signi-
ficant portion of the underlying risk in-
sured, but only if the Commlssioner deter-
mines that such cancellation is justified.

in effect for less than 60 days, we may 3. We will mail or deliver our notice to the first
cancel fcr: Narn_ed lnsurad's and any loss payee's last
(1) Loss of reinsurance subject,to d. be- ma"mg address known to us'
iow; or 4. Notice of cancellation will state:

(2) Any other reason. a. The reason for cencellation; and

c.‘ if this policy has been in effect for 60 b. The effective date of cancellation The
days or more, or is a renewal of a policy policy period will and on that date.
gir§i`g:‘e‘g§lén£§;?g§§;:::y for °ne °r 5. lf-thie policy is cancelled. we will send the

('f] Nonpayment of premium;

(2) Mlsrepresentation or fraud made by or
with your knowledge in obtaining the
policy,` when renewing the policy, or
iri presenting a claim under the poiicy;

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first Named insured any premium refund due.
if we cancei, the refund Wili be pro rata. if the
first Named insured cancels, the refund may
be less than pro rata. The cancellation Wili be
effective even if we have not made or offered
a refund.

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Unit`omi lnfcrmaiion Seivloeo, inc.

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6. if notice is mailed, a post office department
certificate of mailing is proof of receipt of no-
tice. However, if cancellation is for nonpay~
ment of premium, a certificate of mailing is
not required. b

B. The following is added and supersedes any other
provision to the contrary:

NGN RENEWAL

1. if we decide not to renew this poiicy, we will
mail or deliver written notice of nonrenewal to
the first Named insured and any loss payee at

least 45 days before the expiration dateof

this poiicy, except if:

a. We have offered to issue a renewal poli-
cy; or '

b. You have failed to pay a premium due or
any advance premium required by us for
ranewal.

. if notice is mailed, a post ofhce department

certificate of mailing is proof of receipt of no-
tloe.

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lL 02 86 07 02
TH|S ENDORSEMENT CHANGES THE FOL|CY. PLEASE READ lT CAREFUl_LY.

MlCHlGAN CHANGES - CANCELLATION
~ AND NONRENEWAL 1

This endorsement modifies insurance provided under the following:

BO|LER AND MACH|NERY COVERAGE PART

COMMEHC|AL AUTOMOE|LE COVERAGE PART

COMMERCIAL GENERAL LlAB|LlT‘i" COVERAGE PART
COMMERCIAL lNLAND MARINE COVERAGE PART

CR|ME AND FIDEL|TY GOVERAGE PART

EMPLOYMENT-RELATED PRACTICES LlABiLlTY CGVERAGE PART
FARh/l COVERAGE F’ART

F'RODUCTS/COMPLETED OPERATlONS LIAB|LIT‘(' COVERAGE PART
PROFESSIONAL LiAB|LlT“i' COVERAGE PART

A. The Cance|iaticn Common Policy Condltion is fund due. The minimum earned premium shall

amended as foilows: not be |efss than$tétse 50 rar;ca premium for the

. . _ expired tme or . lw ichever is greater.

1“ Paragraph 1’ ls replaced by the f°“°ng' The cancellation will b_e effective even if we
The first Named insured shown iri the Decia- ' have not made or offered a refund.

ratlons may cancel this policy by mailing or ' . .. .
delivering to us or our authorized agent acl- B' ;:; ;?|!:::Vi;r;gvgi%nnd;g°ur;gsa§:$r;?.y.and Supersedes

vance notice of cancellation
NONRENEWAL

2. Paragraph 3. is replaced by the following: i- .
if we decide not to renew-this ’policy, we will mail

We will mail or deliver our notice to the first - . .
, .. or deliver to the first Named insured s last mailing
tria|_';;egr Q::;Yh:r|§;td ";ag':? address known address known to us' or our authorized agent writ-
g ’ ten notice of the nonrenewal not less than 30

3. Paragraph 5.' ls replaced by the foilowing: days before the expiration date.
if this policy is cancelled, we will send the if notice is mailed,’ proof of mailing shall"be suff-
iirst Named insured any_ pro rata premium re- clent proof of notice.
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THis ENi:ionseiiiiEiiT ci-iAiieEs Ti-iE Poi_icv. PLEAsE isaac rr cAeEi=uLi_'r.
SOUTH DAKGTA CHANGES - APPRA|SAL

This endorsement modifies insurance provided under the foilowing:

BO|LER AND MACHlNERY CDVERAGE PART

CAPlTAL ASSETS PROGRAM (OUTF’UT POLiCY} COVERAGE PART

COMMEHClAL AUTOMOB||_E COVERAGE PART
COMMERCiAL lNLAND MAR|NE COVERAGE PART
COMMERC]AL PROPERTY COVERAGE:` PART

Except as provided in Paragraph B. of this en-

. dorsement, the Appraisai Loss Condition is re~

placed by the foilowing:
APPRA|SAL

|f we and you disagree on the value Oi" the prop-
erty or the amount of the loss both parties may
agree to an appraisal of the ioss. if both parties
so agree, then each party will select a competent
and impartial appraiser. The two appraisers will
select an umpire. if they cannot agree, either may
request that selection he made by a judge of a'
court having jurisdiction The appraisers Wili state
separately the value of the property and the
amount of loss. if they fail to agree, they will sub-
mit their differences to the umpire. Any outcome
of the appraisal will not be binding on either par-
ty. Each party wiii: -

_ 1. Pay its chosen appraiser; and
2. Bear the other expenses of the appraisal and `

umpire equaliy.

if we submit to an appraisai, we will retain our
right to deny the claim.

The Appraisal Condition iri Capitai Assets Pro- _

gram Coverage Form -{Output'Poiicy), OP 00 U'i,

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Paragraph A.?. Busi'ness income And Extra Ex-
pense is replaced by the foilowing:

APFRA|SAL

if we and you disagree on the amount of net in-
come and operating expense orthe amount of the
ioss, both parties may agree to an appraisal of the
ioss. if both parties so agree, then each party Wili
select a competent and impartial appraiser. The
two appraisers Wili select an umpire. if they can-
not agree, either may request that selection be
made by a judge of a court having jurisdictionl
The appraisers will state separately the amount of
net income and operating expense and the
amount of the ioss. if they fail to agree, they Wili
submit their differences to the umpire. Any out-
come of the appraisal will not be binding on either
party. Each party wili:

1. Pay its chosen appraiser; and

2. Bear the other expenses of the appraisal and
umpire equaiiy.

if we submit to an appraisa|, we Wili retain our
right to deny the ciaim.

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Uniform information niloes. |ric.

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c-_-__~ ._.J

|L 02 32 09 02
THlS ENDORS_EMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

SOUTH DAKOTA CHANGES -- CANCELLATION
AND NONRENEWAL

This endorsement modifies insurance provided under the following:

COMMERC|AL AUTOMOBILE COVERAGE PART

COMMERClAL GENERAL L|AB|L|TY COVERAGE PART
CCiNlMERClAL LlABlLlTY UMBRELLA COVERAGE PART
EMPLOYMENT-RELATED PRACT|CES LlABlLlTY COVERAGE PART
F'ARM UNIBRELLA LlAB`lLiT`r' POL|CY

l_lQUOR L|AB|LiT"r' COVERAGE PART

POLLUT|ON L.lAB|LiT‘i" COVERAGE PART

PRODUCTS/COMPLETED OPERATIDNS LlAB|L|TY COVERAGE PART
PROFESSiONAL LlABlLiTY COVERAGE PART

A. i=aragraph 2. of Canceiiation Common Policy thereof which substantially increases
Condition is replaced by the foilowing: any hazard insured against;

2. We may cancel this policy by mailing or de- (t) A determination by the director of in-'
livering to the first Named insured written surance that the continuation of the
notice of cancellation at least 20 days be- y policy would jeopardize our solvency or
fore the effective date of cancellation. would place us in violation of the insur-

After 60 days from the effective date of a"‘-."elaws of South Dak°ta?

policy issuance a notice of cancellation may

not be issued unless lt is based upon at

least one of the following reasons as stated
' in South Dai<ota |aw: '

(a) Nonpayment of premium;

(g) Your violation or breach of any policy
terms or conditions; or

{h} Such other reasons as a__re approved by
thedireotor of insurance.

B. The following condition is added and super-
sedes any provisions to the contrary:

NONRENEWAL ~ _
1. if we decide riot to renew this poiicy, we

{b) Discovery of fraud or material misrepre~
sentation made by or with the knowl-

_ edge of the Named insured in obtaining
the poiicy, continuing the poiioy, or in

presenting a claim under the poiicy;

(c) Discovery of acts or omissions on the
part of the Named insured which in-
crease any hazard insured ageinst;

(d) The occurrence of a change in the risk
which substantially increases any haz-
ard insured against after insurance cov-
erage has been issued; `

(e} A violation of any local fire, health,
safety, building or construction regula-
tion or ordinance with respect to any

y insured property or the occupancy

lL 02 32 09 02

will mail or deliver to the first Named in-
sured written notice of nonrenewal not less
than 60 days before: '

a. The expiration date; or

b. The anniversary_date if this is a con-
tinuous poiicy.

. Any notice of nonrenewal will be mailed or

delivered to the iirst Named insured's last
mailing address known to us. |f notice is
mailed, proof of mailing Wili be suflicient
proof of notice.

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Uniform

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COMMERC|AL lAUTCI
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eusiNEssAu'ro covERAGE FoRM

Various provisions in this oiicy restrict coverage
Read the entire policy care ily to determine rights,
duties end what is end is not covered

Throughout this policy the words "you" and "yoi.ir"
refer to the Named insured shown in the Declara-
tions. The words "We", "us" and "our" refer to the
Company providing this insurance

Other words and phrases that appear in quotation

SECTION l -» COVERED AUTDS

item TWo of the Deciarations shows the "autos" that
are covered "autos" for each of your coverages The
following numerical symbols describe the "autos" that
may be covered ."autos". The symbols entered next
to a coverage on the Deciarations designate the only
"autos" that are covered "autos".

A. Descriptlon Of Covered Auto Designaticn Sym-

 

 

 

Only those "autos" you own land for Liabiiity Coverage any "traiiers" you don't
own while attached to power units you own). This includes those "autos" you

 

Only the private passenger "autos" you own. This includes those private passen-

 

Ciniy those “autos" you own that are not of the private passenger type (and for
Liabiiity Coverage any "trailers" you don't own while attached to power units
you own). This~inciudes those "autos" riot of the private passenger type you ac-

 

Dniy those "autos" you own that are required to have No-Fault benefits in the
state wherethey are licensed or principally garaged. This includes those "autos"
you acquire ownership of after the policy begins provided they are required to
have Nc-Fault benefits in the state where they are licensed or principally garaged.

 

Oniy those "autos" you own that because of the law in the state where they are
licensed or principally gaiaged are required to have and cannot reject Uninsured
lviotorists Coverage. This includes those "autos" you acquire ownership of after
the policy begins provided they are subject to the same state uninsured motorists

 

Only those "autos" described in item Three of the `Declarations for which a pre-
mium charge is shown land for Liabiiity Coverage any "trailers" you don't own

 

Oniy those "autos" you lease, hire, rent or borrow. This does not include any
"_auto" you lease, hire, rent, or borrow from any of your "employees", partners
(if you are a partnership), members (if you are a limited liability company) or

 

Only those "autos'l you do not own, lease, hire, rent or borrow that are used in
connection with our business. This includes "autos" owned by your "employ-
ees", partners (i you are a partnership), members (if you are a limited liability
company), or members of their households but only while used ~in your business

marks have special meaning. Refer to Section V - Def- bois
initions.
Symbol _ Description Of Covered Auto Designation Symho|s
1 Any "Auto"
2 Owned “Autos“
Only
acquire ownership of after the policy begins.
3 Owned Private
iPassenger ger "autos" you acquire ownership of after the policy_begins.
“Autos“ Oniy ` '
4 Owned llAutos"
Other Than
Frivate Passen-
%er “Autos“ quire ownership of after the policy begins.
nly ' » ' .
5 Owned “Autos"`
Subject To
No-Fault
6 Owned “Autos“
Subject To A
Compuisory Un-
insured Motor-
ists Law requirement
7 Speciiicaily De-'
scn`_bed “Autos“
while attached to any power unit described in item Three).
3 Hired "Autos‘l
Oniy
members of their households.
9 Nonowned
“Autos“ On|y
or your personal affairs.

 

 

 

 

B. O\iimed Autoe You Acquire Aftei' The policy Be-

gina

1. if Symbois 1, 2, 3, 4, 5 or.S are entered next
to a coverage in item Two of the Declara-
tions. then you have coverage for "autos"
that you acquire of the type described for the
remainder of the policy period.

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2. But, if Symbol 7 is entered next to a coverage
in item Two of the Deciarations, an "auto"
you acquire will be a covered "auto" for that
coverage only if:

a. We already cover ali "autos" that you
own for that coverage or it replaces an
"auto" you previously owned that had
that coverage; and

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b. You tell us within 30 days after you ac-
quire it that you want us to cover it for
that coverage

C. Certain Trailers, Mobile Equipment And"`l`smpo-

rary Substltute Autos _
if Liabillty Coverege is provided by this Coverage
Form, the following types Of vehicles are also
covered "autos" for Liability Coverage:

1. “Trailers" With a load capacity 01‘,2,000
pounds or less designed primarily for travel on
public roads.

2. "Moblie equipment" while being carried or
towed by a covered "auto".

3. Any "euto" you do not own while used With
the permission of its owner as a temporary
substitute for a covered "euto" you own that
is out of service because of its:

a. Breal<down;

b. Repair;

ct Servioing;

d. "Loss";or _

e. Destruction.

SECT|ON ll - LlAB|L|TY COVERAGE

A. Coverage

We Wili pay all sums an “lnsured" legally must
pay as damages because of “bodily injury" or
'property damage" to which this insurance ap-
plies, caused by an "accicient" and resulting from
thetownership, maintenance or use of a covered
llau ol|- .

We will also pay all sums an “lnsured" legally
must pay as a "covered pollution cost or ex-
pense" to which this insurance applies, caused by
an "accldent" and resulting from the ownershlp,
maintenance cr use of covered "autos". However,
we Wili only pay for the "covered pollution cost or
expense" if there is either "boclliy injury" or
"property damage" to which this insurance ap-
plies that is_caused by the same "accident".

We have the right and duty to defend any "in-
sured" against a "Sult" asking for such damages
or a "covered pollution cost or expense". How-
ever, we have no duty lo defend any “lnsured"
a ainst a "Suit" seeking damages for "bodlly inju-

or "property damage" or a "covered pollution
cost or expense" to which this insurance does not
apply. We may investigate and settle any claim or
"Suit" as we consider appropriate Our duty to de-
fend or settle ends when the L|ability Coverage
Limit cf insurance has been exhausted by pay-
ment of judgments or settlements

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1. Who is An insured
The following are "lnsureds":
a. You for any covered_"auto".

b. Anyone else while using With your pennis~
sion a covered "euto" you cwn, hire or
borrow except:

(1) The owner or anyone else from whom
you hire or borrow a covered "auto".
This exception does not apply if the
covered "auto" is a "trailei“' connect-
ed to a covered "euto" you .own.

{2) Your “empioyee“ if the covered "au~
to" is owned by that "employee" or a
member of his or her househoid.

(3) Someone using a covered "euto"
while he or she is working in a busin-
ess of seiling, servicing, repairing,
parking or storing "autos" unless that
business is yours.

{=i) Anyone other than your "employees",
partners (if you are a partnership),
members (if you are a limited liability
company), or a lessee or borrower or
any of their "employees", while mov-
ian property to or from a` covered "au-
o .

{5) A partner (if you are a parinership), or
a member (if you are a limited liability
company) for a covered "euto" owned
by him or her or a member of his or
her household

c. Anyone liable for the conduct of an "in-
sured" described above but only to the
extent of that llabliity.

2. Ccvsrage Extensions
a. Supplementary Paymsnts

in addition to the Limit of lnsurance, we
will pay for the "lnsured":

(‘l) Ai| expenses we incur.

(2) Up to $2.000 for cost of bail bonds
(inciuding bonds for related trach law
violations) required because of an "ec-
cident“ we cover. We do not have to
fumish these bonds.

(3) The cost of bonds to release attach-
ments in any "sult" against the "in-
sured" we defend, but only for bond
amounts within our Limit of insurance

(4] All reasonable expenses incurred by
the “lnsured" at our request including
actual loss of earnings up to $250 a
day because of time off from wori<.

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(5) Aii costs taxed against the “lnsured"

sense of the contract or agreement

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Workers’ Compensation

3.
;|';Fe% Su't agamst the msured We "_ny obligation for which the “lnsured" or the
' "insured's" insurer may be held liable under
(6) Aii interest on the full amount of any any workers‘ compensation, disability benefits
judgment that accrues after entry of or unemployment compensation law or any
t't_ie judgment in any "Suit" against the similar iaw. _
;:;?r:te;e;::::;e$gé:Teo:;\;u;;§: 4. E_n'_ipioyee indemnification And Employer's Lia-
offered to pay or deposited in court b"'ty
the part of the judgment that is Within "Bodiiy injury" to:
our Limit of insurance ,, ,, ,, .. .
- a. An employee of the _ insured arising
b. out-Of-Siate Coverage Extensio'ns out of and in the course of:
Whtile ahcove{edlf'auto"dis awaly from the (1) Empioyment by the "insured"; or
staaw erei ls |?ense We W[ ` _ (2) Performing the duties related to the
(1) increase the Limit of insurance for Lia- conduct of the "insured's" business,'
tlilit§;l %overage to meet the limits spe- or . '
cifie a com ulso or financial re~ . .
Sponsib%ity game of rythe gun-Sdmon b. The spouses chlid, parent1 brother or sis-
Where the covered name is being tar of that employee as a consequence
used. This extension does not apply of Parag"aph a'-ab°‘/e~
to the limit or limits speciiied biy any This exclusion applies;
aw v ' motor ar le 0 -
Sengg[:$ ::n§gpe,-ty_ c r rs gas (1) Whether the “lnsured" may be liable
_. _ as an employer or in any other capa~
{2) Provide the minimum amounts and City; and _
types of other coverages, such as no- .
fauit, required of out-of-state vehicles (2) T‘? any °b"gat'°“ to Sha"e damages
by the jurisdiction where the covered With 0" repay 30"1€°"9 else Wh° must
"auto" is being used. pay damages because of the injury. _
We Wili riot pay anyone more than once ta':’t tl`,‘,is ex°'usi°". does not apply to "qu"Y
for the same elements of loss because of miu"Y to domest'° "emP‘°YeeS" not e"m|,ed
these extensions_ . to workers' compensation benefits or to i_la-
‘ ’ bliity assumed by the "insured" under an "ln-
B. Exclusions v sured lc:ontral::t“. For the purpo|ses of the Cov-
- - _ erage orm, a domestic emp oyee" is a per-
|;hv:;?ng.surance does mt apply to any of the fm son engaged in household or domestic work
' performed principally in connection with a res-
1. Expected Cir lntanded injury _ idence premises
"Bodily injury; 1__or "prloperty gama§e;t?\xp§_ct- 5.` Feltow Employee l
::r:§.[manda mmr e stan ppm o e mn "Bodiiy injury“ to any fellow "employee" of
' the "insured" arising out of and in the course
. contractual 02 the fellow "e(;npioyeei's" etrn;ll':lymei'l[t:i or
. .. 4 w iepe orming uties rested ot econ uct
H::;iity assumed under any contract cir agree- of your business.
sur this exclusion does nut apply io liability 6~ °a"" °"5‘°°'¥ °'°°""°‘
for damages: "Property damage" tc|l or "covered pollution
- cos or expense" invo ving properly owneci_or
a` gss:£ne.gn:'uraegu;tg:?rta:§“a%rre;%:rg tg;t transported by the “lnsured" or in the ‘in-
llbodi|y injury" or "property damage.. oc_ sureds care, custody or controi. But this ex-
curs Subsequent to the execution mt the ciusiori_ does not apply to liability assumed un-
Contract or agreement or der a sidetrack agreement
b. That the “lnsured" would have irl the ab- 7' Ha"d"“g of P"°p°"y

"Bodi|y iniury" or "property damage" resulting
from the handling of property:

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B.

10.

11.

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a. Before it is moved from the place where it
is accepted by the “lnsured" for move-
ment into or onto the covered "euto"; or

b. After it is moved fr_om the covered "auto“
to the place where lt is finally delivered by
tile "insured". .

Movement Of Property By Mechanlca| Device

"Bodily injury" or "property damage" resulting
from the movement of property'by a mechan-
ical device (other than a hand truck) unless
the device is attached to the covered "auto".

Operations

"Bodin injury" or "property damage" arising
out of the operation of any equipment listed in
Paragraphs 6.b. and B.c. of the definition of
"mobiie equipment".

Completed Dperations

"Bodlly iniury" or "property damage" arising
out of your work after that work has been
completed or abandoned.`

in this exolusion, your work means:

a. Worit or operations performed by you or
on your behalf; and

h. ivlaterials, parts or equipment furnished in
connection with such work or operations

Your work includes warranties or re resente-
tions made at any time with respect o the fit-
ness, quality, durability or performance of any
oli; the items included in Paragraphs. a. or b.
a ove. ~

‘r’our work `will be deemed completed at the
earliest of the following times:

(1) When_ all of the work called for in your
contract has been completed

(2) When all of the work to be i:i_one et
the site has been completed if your
contract calls for work at more than
one site.

lsi when that pari of tile work done at a

job site has been put to its intended .

use by any person or organization oth-
er than another contractor or subcon-
tractor working on the same project

Wori< that may need service, mainte-
nance, conection. repair or replacement
but which is otherwise compiete, Wili be
treated as completed

Pollutlon

"Bodii inju " or "property damage" arising
out o the axi;:tual, alleged or threatened dis-

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-,U,

charge, dispersal, seepage, migration, release
or escape of "poiiutants":

a. That are, or that are contained in any
property that is:

(1) Being transported or towed by, han-
dled, or handled for movement lnto,
onto or from, the covered "auto";

(2) Otherwise in the course of transit by
or oh behalf of the "lnsured"; or

(3)- Being stored, disposed of, treated or
1processed in or upon the covered "au~
oll-

|

b. Before the "poiiutants" or any property in
which the "poiiutants" are contained are
moved from the place where they are ac-
cepted l:iy the “insured',' for movement in-

to cir onto the covered "auto"; or

c. After the "poiiutants" or any property in
which the "poiiutants" are contained are
moved from the covered "euto" to the
place where they are finally delivered, dis-
posed of or abandoned by the “insured".

Paragraph a. above does not apply to
fuels, iubricarlts, fi'uids, exhaust gases or
other similar "poiiutants" that are needed
for or result from the normal electricai, hy-
draulic or mechanical functioning of the
covered "euto" or its parts, if:

{1) The "poiiutants'_' escape, seep; mi-
grate, or are discharged dispersed or
released directly from an "euto" part
designed by its manufacturer to hoid,
store, receive or dispose of such "poi~
iutants"; and

(2) The "bodi|y injury", "property dam-
age" or "oovered pollution cost or ex-
pense" does not arise out of the oper-
ation of any equipment listed in Para-
graphs S.b. and 6.c. of the definition
of "mobiie equipment".

Paragraphs b. and c. above Of this exclu-
sion do not apply to "acoidents" that oo-
our away from premises owned by or
rented to an “lnsured" with respect to
;ppl_lfutants" riot in or upon a covered "au-
o l : .

(1) The l‘poilutants" or any property in
which the "poiiutantsll are contained
are upset, overturned or damaged as a

_ result of the maintenance or use of a
covered "auto"; and

(2) The discharge dispersal, seepage, mi-
gration, release or escape of the "poi~
lutants" is caused directly by such up-
set, overturn or damage.

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1 2. War

"Bodin injury" or "property damage" due to
war, whether or not declared, or any act or
condition incident to War. War includes civil
War, insurrection, rebellion or revolution. This
exclusion appiies only to liability assumed un-
der a contract or agreement

13. Racing

Covered -"autos" while used in any profes-
sional or organized racing or demolition con-
test or stuntlng activity, or while practicing
for such contest or activity. This insurance al-
so dces not apply while that covered "auto"
its _it)eing prepared`for such a contest or ac-
lvl y.

. Limit of insurance

Regardless of the number of covered "autos"y "in-
sureds", premiums paid, claims made or vehicles
involved in the "acciderit", the most we will pay
for the total of all damages and "ccvered pollution
cost or expense" combined, resulting from any

one "accident" is the Limit of insurance for Lia-_

biiity Coverage shown in the Declarations.

All "bodlly injury", "property damage" and "cov-
ered pollution cost or expense" resulting from
continuous or repeated exposure to substantially
the same conditions will be considered as result-
ing from one "acoident".

No one will be entitled to receive duplicate pay-
ments for the same elements of "lcss" under this
_Coverage Form and any i\rledioal Payments Cover-
age Endorsement1 Uninsured Motorists Coverage
Endorsement or Underinsured Motorists Coverage
Endorsement attached to this Coverage Part.

SECTiON ill - PHY'SICAL DAMAGE COVERAGE
A. Coverage

1. We will pay for "loss" to a’covered "euto" or
its equipment uncler. _

a. Comprehenslve Coverage
From any cause except:

(1] The covered "auto‘s" collision with an
other object: or

(2j The covered "auto's" overturn.
b. Specified Causes of Loe`s Coverage

Caused by: '

('l) Fire, lightning or explosion;

(2) Theft;

(3) Wlndstonn, hail or earthquake;

(4) Fiood; g

(5) iviischief or vandalism; cr

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(6) The slnl<ing, buming, collision or de-
railment of any conveyance transport-
ing the covered "auto".

c. Co||ision Coverage
Caused by:

(1} The covered "auto's" collision with an
other object; or

{2) The covered __"auto's" overturn.
2. Towing

We will pay up to the limit shown in the Dec-
larations for towing and labor costs incurred
each time a covered "auto" of the private pas-
senger type is disabled. However, the labor
must be pericnned at the place of disable-
ment. '

3. Giass Breakage - Hitting A Bird Or Animal -
Falling Objects Or Missiies

if you carry Comprehensive Coverage for the
damaged covered "auto", we will pay for the
following under Comprehensive Coverage:

a. G|ass breakage;

b. "Loss" caused by hitting a bird or animal;
and '

c. "Loss" caused by falling objects or mis-
siles.

However, you have the option of having glass
breakage caused by a covered "auto's colli-
sion or overturn considered a "|oss" under
Colilsion Coverage.

4. Coverage Extansions
a. Transpcrtat|on-E:cpenses

We will ay up to $20 per day to a max~
imum o $600 for temporary transporta-
tion expense incurred by you because of
the total theft of a covered "euto" of the
private passenger type. We will pay only
for those covered ‘autos" for which you
carry either Comprehensive or Specifled
Causes of Loss Coverag_e. We Wili pay for
temporary transportation expenses ln-
curred during the period beginning 48
hours after the theft and ending. regard-
less of the policy‘s expiration1 when the
covered "auto" is returned to use or we
pay for its "loss".

b. Lose Of Use Expenses

For Hired Auto Physicai Damage, we Wili
pay expenses for which an “lnsured" be-
comes legally responsible to pay for loss
of use of a vehicle rented or hired without
a driverl under a written rental contract or
agreementl We will pay for loss of use ex-
penses if caused by:

Page 5 of 11

CA 00 01 10 01

(1) Other than collision only if the Decia-
rations indicate that Comprehensive
Coverage is provided for any covered
"auto";

(2] Specitied Causes Of Loss only if the
Deciarations indicate that Speclfied
Causes Of Loss Coverage is provided
for any covered "auto"; or

{3) Coliision only 'rf the Deciarations indi-
cate that Coliision Coverage is provid-
ed fcr any covered "auto". -

Howeverr the most we will pay for any
expenses for loss cf use is 320 per day,
to a maximum of $600.

B. Exciusions
1. We Wili not pay for "loss" caused by or re-

sulting from any of the following Such "loss"
is excluded regardless of any other cause or
event that contributes concurrently cr in any
sequence to the "loss". »

a. Nuciear Hazard

(1) The explosion of any weapon employ-
' ing atomic lisslon cr fusion; or

(2} Nuciear reaction o_r radiation, or radio-
active contamrnatlon, however
caused.

b. War Or Milibnry Action
{'l) War, including undeclared or civil war;

(2} Warlike action by a military force, in-'

cluding action in_ hindering or defend-
ing against an actual or expected at-
tacit, by any govemment, sovereign or
other authority using military person-
nel cr other agents; cr

(3) insurrection, rebellion,- revolution,
usurped power or action taken by
governmental authority in hindering or
defending against any of these.

. We will not pay for "loss" to any covered
"auto" while used in any professional or or-
ganized racing or demolition contest or stunt-
ing activity, or while practicing for such con-
test or activity. We will also not pay for
"loss" to any covered "auto" while that cov-
ered "euto" is being prepared for such a con-
test or activity.

. We will not pay for "loss" caused by or re-
sulting from any of the following unless
caused by other "loss" that is covered by this
insuranca: »

a. Wear and tear, freezing. mechanical or
electrical breakdown .

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b. Biowouts, punctures or other road dam-
age to tires.

4. Welwii| not pay for "loss" to any cf the fol-

icwlng

a. Tapes, records, discs or other similar au-
dio, visual or data electronic devices de-
signed for use With audio, visual or data
electronic equipment.

'b. Any device designed or used to detect

speed measuring equipment such as radar
or laser detectors and any jamming appa-
ratus intended to elude or disrupt speed
measurement equipment

c. Any electronic equipment without regard
to whether this equipment is permanently
installed, that receives or transmits audio,
vlsuai or data signals and that is not de-
signed solely for the reproduction of -
sound. .

r:i.v Any accessories used with the electronic
equipment described in Faragraph c.
above.

`Exc`iusions 4.c. and 4.d. do not apply to:

a. Equipment designed solely for the repro-.
duction of sound and accessories used
with such equipment provided such
equipment is permanently installed in the
covered "auto" at the time of the "ioss.‘i
or such equipment is removable from a
housing unit which is permanently in-
stalled in the covered "auto" at the time
cf the "icss", and such equipment is de-
signed to be solely operated by use of the
power from the "auto's" electrical sys-
tem, in or upon the covered "auto"; cr

b. Any other electronic equipment that is:

(‘t] Necessary for the normal operation of
the covered "euto" or the monitoring
of the covered "auto's" operating sys-
tem; or

(2} An integral part of the same unit
housing any sound reproducing equip-
ment described in a. above and per-
manently installed in the opening of
the dash cr console of the covered
"euto" normally used by the manufac-
turer for installation of a radio.

5. We-wii| not pay for "loss" to a covered "auto"

due to "diminution in value". ~

C. Limit Of|nsurance
'i. The most we will pay for "loss" in any one

"acoident" is the lesser of:

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a. The actual cash value of the damaged or
stolen property as of the time of the
"loss"; or

b. The cost of repairing or replacing the
damaged or stolen property with other
property ct like litinr.i and quality

2. An adjustment for depreciation and physical
condition will be made in determining actual
cash value in the event of a total "loss".

3. if a repair or replacement results in better
than like kind or qualityl we will not pay for
the amount of the betterment l

U. Deduntibie

For each covered "auto". our obligation to-pay
~ for, repair. return or replace damaged or stolen
property Wili be reduced by the applicable deduc-
tible shown in the Deciaratlons. Any Comprehen~
sive Coverage deductible shown in the Deciara-
' tions does not apply to "loss" caused by fire or
iightning. -

SECT]ON lV - BUS|NESS AUTO COND|T|ONS

The following conditions apply in addition to the
Common Policy Condltions: ,

A. Loss Conditlons _
1. Appraisal For Physical Damage Loss

if you and we disagree on the amount of
"loss", either may demand an appraisal of the
"loss". in this event, each party will select a
competent appraiser. The two appraisers Wili
select a competent and impartiaiumpire. The
appraisers will state separately the actual
cash value and amount of "ioss". if they fail
to agree, they Wili submit their differences to
the umpire. A decision agreed to by any two
will be binding. Each party will:

a. Pay its chosen appraiser; and

h. Beer the other expenses of the appraisal
and umpire equaliy.

if we'submit to an appraisal, We Wili still re-
tain our right to deny the claim.

2. Dutles in The Event Of Accident`. Clairn, Suil:
Or Loss

We have no duty to provide coverage under
this policy unless there has been full compli-
ance with the following duties: '

a. iri the event of "acoident", claim, "Suit" or
"ioss", you must give us or our authorized
representative prompt notice of the "acoi-
dent" or- "loss". lnciude:

(1] How, when and where the "accident"
or "loss" occurred;

(2} The "insured's" name and address;
and

(3] To the extent possibie, the names and `
addresses of any. injured persons and
witnesses

b. iitciditiionallyl you and any other invoived
"insured" must:

(1),Assume no obligation, make rio pay-
ment or incur no expense Without our
consent, except at the "insured's“
own cost.

(2] immediately send us copies of any re-
quest, demand, order, notice, sum-
mons or legal paper received concom-
ing the claim or "suit". '

(3) Cooperate With us in the investigation
or settlement of the claim or defense
against the "suit".

{4) Authorize us to obtain medical records
or other pertinent information.

(5) Submit to examination, at our ex-
pense, by physicians of our choice, as
often as we reasonably require.

c. if there is "loss" to a covered "auto" or_ its
equipment you must also do the follow-
- ing:

('l) Fromptiy notify the police it the cov-
- e{e|d "euto" or' any of its equipment is
s o en. »

(2) Taite all reasonable steps to protect
the covered “auto" from further dam-
age. Aiso keep a record of your ex-
penses for consideration in the set-

~ tlement of the ciaim.

(3} Permit us to inspect the covered "au-
to" and records proving the "loss" be~
fore its repair or disposition

(4) Agree to examinations under oath at
our request and give us a signed
state ment of your answers

3. Legal Action Agalnst Us

No one may bring a legal action against us un-
der this Coverage Form until: _

a. "i'here has been full compliance With all
ltie terms of this Coverage Fon'n; and

b. Under Liabiiity Coverage, we agree in
Writing that the "insured" has an obliga-
tion to pay or until the amount of that ob-
ligation has nnaily been determined by
judgment after trial. No one has- the right
under this policy to bring us into an action
to determine the "insured's“ ilabiiity.

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4.

Loss Payment - Physicai Damage Coverages
At our option We may:

a. Pay tor, repair or replace damaged or stol-
en property; `

ic. Return the stolen property, at our ex-
pense. We Wl|l pay for any damage that
results to the "auto" from the thett; or

c. Take all or any part of the damaged or
stolen property at an agreed or appraised
`va|ue. ‘ ` `

if we pay for the "loss". our payment will in-
clude the applicable sales tax for the damaged
or stolen property.

Transfer Of Rights Of Recovery Against Oth-
ers To Us

if any person or organization to or for whom
we make payment under this Coverage Form
has rights to recover damages from another.
those rights are transferred to us. That person
or organization must do everything necessary
to secure our rights and must do nothing after
"acoident" or "loss" to impair them. '

B. Generai Conditions

1.

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Eankruptcy '

Bankruptcy or insolvency of the “lnsured" or
the "insured‘s“ estate will not relieve us of
any obligations under this Coverage Fonn.

Concealment, Mlsrepresentation Or Fraud

This Coverage Form is void_in any case of
fraud by you at any time as lt relates to this
Coverage Form. lt is also void if you or any
other "insured", at any time, intentionally con-
_cea| or misrepresent a material fact concem-
rng:

a. This Coverage Fomt;

b. The covered "auto";

c. ‘r'our interest in the covered "auto"; or

d. A claim under this Coverage Form.
Liberaiization

if we revise this Coverage Form to provide
more coverage without additional premium
charge. your policy will automatically provide
the additional coverage as of the day the re-
vision is effective in your state. -

No Bsnefit To Baiiee - Physicai Damage Cov-
erages

We will not recognize any assignment or
grant any coverage for the benth of any per~
son or organization hoiding, storing or trans-
porting property for a fee regardless of any
other provision of this Coverage Form.

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5. Other insurance

a. For any covered "euto" you own, this
Coverage Form provides primary insur-
ance. For any covered "auto" you don't
own, the insurance provided by this Qov-
erage Form is excess over any other coi-
lectlbie insurance However, while a cov-
ered "auto“ which is a "traiier" is con-
nected to another vehicle, the Liability
Coverage this-Coverage Form provides for
the "trailer" is:

(1) Excess while it is connected to a mo-
tor vehicle you do not own.

(2) Primary while it is connected to a cov-
ered "euto" you own. -

b. For Hired Auto Physical Damage Cover-
age, any covered "euto" you iease, hire,
rent or borrow is deemed to be a covered
"euto" you own. However, any_ "euto"
that is ieased, hired, rented ior` borrowed
with a driver is note covered "auto".

c. Regardless of the provisions of Paragraph
a. above, this Coverage Forrn's l_iabiiity
Coverage is primary for any liability as-
sumed under an "insured oontract".

d. When this Coverage Form and any other
Coverage Form or policy covers on the
same basis, either excess or primary, we
Wili pay only our share. Our share is the
proportion that the Limit of insurance of
our Coverage Form bears to the total of
the limits of atl the Coverage Forms and
policies covering on the same basis.

6. F*remium Audit

a. The estimated premium for this Coverage
Form is based on the exposures you told
us you would have when this policy be-
gan. We will compute the final premium
due when we determine your actual ex-
posures. The estimated total premium will
be credited against the final premium due
and the first Named insured will be billed
for the dbaiance, if any. The due date for
the final premium or retrospective premi-
um is the date shown as the clue date on
the blil. if the estimated total premium ex-
ceeds the final premium due, the first
Named insured will get a refund.

b. if this policy is issued for more than one
year, the premium for this Coverage Form
will be computed annually based on our
rates or premiums in effect at the begin-
ning of each year of the poiicy.

7. Policy Period, Coverage Territory

Under this Coverage, Fom_i, we cover "acoi-
dents" and "iosses" oocurnng:>

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a. During the policy period shown in the
Deciaratlons; and

b. Withi`n the coverage territory.
The coverage territory is:
a. The United States cf America;

b. The territories and possessions of the
United States of Amerioa;

c. F-"uerto Rioo;
ci. Canada;and
e. Anywhere in the world if:

('i} A covered "euto" of the private pas-

senger type is leased,'hlred, rented or

_ borrowed without a driver for a period
of 30 days or iess; and

to pay

(2) The "insured‘s" responsibility '
damages is determined in a Suit" on
the merits, in the United States of
America. the territories and posses-
sions of the United States of Americe,
Puerto Rico, or Canada or in a settle-
ment we agree to.

We also cover "loss" to, or "acoidents" in-
volving, a covered "auto” while being trans-
ported between any of these places.

8. Two Or More coverage Forms Gr Policies ls-
sued Ey Us

if this Coverage Form and any other Coverage,

Form or policy issued to you by us or any
company affiliated With us apply to the same
"accident", the aggregate maximum Limit of
insurance under ali the Coverage Fonns or
policies shall not exceed the highest appli-
cable leit of insurance under any one Cover-
age Form or poiicy. This condition does not
apply to any Coverage Form or policy issued
by us or an affiliated company specifically to
apply as excess insurance over this Coverage
Fomi.

SECT|DN V - DEF|NITIONS

A.

cAoo in 10 01 t

"Aocident“ induces continuous or repeated expo-
sure to the same conditions resulting in "bodily
lnjury" or "property damags“.

"Auto" means a land motor vehicie, "traiier“ or
semitraiier designed for travel on public roads but
does not include "mobiie equipment".

"Bodin injury" means bodily injury, sickness or
disease sustained by a person including death re-
sulting from any of these.

“Covered pollution cost or expense" means any
cost or expense arising out of:

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1. Any requestl demand, order or statutory or
reguiatory requirement or

2. Any claim or "suit" by or on behalf of a gov-
ernmental authority demanding

that the "insured" or others test tor, monitor,
clean up, remove, contaln, treat, detoxify or neu-
tralize, or in any way respond to, or assess the
effects of "poiiutants".

"Covered pollution cost or expense" does not in-
clude any cost or_expense arising out of the ac-
tuai, alleged or threatened dischargel dispersai,
seet§age, migraticn, release or escape of "poiiut-
an ":

a. That are, or that are contained in any
property that is: _

'(1) Being transported or towed by, han-
dled, or handled for movement into,
onto or from the covered "auto";

{Z)Otherwlse in the course of transit by
or on behalf of the "insured";

(3) Being stored, disposed of, treated or
processed in or upon the covered "au-
o';

b. Before the "poiiutants" or any property in
which the "poiiutants" are contained are
moved from the place where they are ac-‘
cepted by the "insured" for movement in-
to or onto the covered "auto"; cr

c. After the`"pol|utants" or any property in

Which the "poiiutants" are contained are . l

moved from the covered "auto" to the
place where they are tinaily delivered, dis-
posed of or abandoned by the "insured".

Paragraph a. above does riot apply to
fuels1 lubricants, fluids, exhaust gases or
other similar "poiiutants" that are needed
for or result from the normal electricai, hy-
draulic or mechanical functioning of the
covered "euto" or its parts, if:

(1) The "poiiutants" escape seep, ml-
grate, or are discharged, dispersed cr
released directly from an "euto" part
designed by its manufacturer tc hold,
store, receive or dispose of such "poi-
lutants"; and 1

(2) The "bodily injury", "property dam-
age" or "covered- pollution cost or ex-
pense" does not arise out of the op~
eration of any equipment listed in Par-
agraphs G.b. or 6.c. of the definition
of "mobiie equipment".

Paragraphs b. and c. above do not apply
to "acoidents" that occur away from

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premises owned~by or rented to an "in-
sured" with respect to "poiiutants" not in
or upon a covered "euto" if:

('l) The "poiiutants" or any property in
which the "poiiutants" are contained
are u set, overturned cr damaged as e
resui of the maintenance or use cf a
covered "auto"; and

(2} The discharge dispersal, seepage, mi-
gration, release or escape of the "poi-
iutants" is caused directly by such up~
set, overturn or damage.

. "Diminution in value" means the actuator per-
ceived loss in market value or resale value which
results from a direct and accidental "ioss“;

. "Emp|oyee" includes a "leased worl<er". "Employ-
ae" does not include a "temporary worker".

. "insured" means any person or organization quali-
fying as an insured in the Who is An lnsured pro~
vision of the applicable coverage. Except with re-
spect to the Limit of lnsuranoe, the coverage af-
forded applies separately to each insured who is
seeking coverage or against whom a claim or
"suit“ is brought

. "insured contract" means:
1. et lease of premises;
2. A' sidetrack agreement

3. Any easement or license agreement except in
connection with construction or demolition
operations on or within 50 feet of a railroad;

4. An obligation. as required by ordinanoe, to in-
demnify a municipality, except in connection
with work for a municipality;

5. That part of any other contract or agreement
pertaining to your business (including an in~
damnilication of a municipality in connection
with work performed for a municipality) under
which you assume the tort liability of another
to pay for "bodily injury" or "prope dam-
age" to a third party or organization ort lia-

bility means a liability that would be imposed

by law in the absence of any contract or
agreement

6. That part of any contract cr agreement en-
tered into, as part of your business, pertaining
to the rental or lease, by you or any of your
"emp|oyees“, of any "auto". However, such
contract or agreement shall not be considered
an "insured contract" to the extent that it ob-
ligates you or any of your "employees" to pay
for "property damage" to any "auto" rented
or leased by you or any of your "employees".

An "insured contract" does not include that
part of any contract or agreement -

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a. That indemnitias a railroad for "bodily in-
jury" or "property damage" arising outof
construction or demolition operations,
Within' 50 feet of any railroad property and
affecting any railroad bridge or trestle,
tracks, roadbeds, tunne!, underpass cr
crossing; or

b. That pertains to the loan, lease or rental
of an "euto" to you or any of your "em-
ployees", if the "euto" is loaned, leased or
z rented with a driver; or

c. That holds a person or organization en-
gaged in the business of transporting
property by "euto" for hire hanniess for
your use of a covered "auto" over a route
or territory that person or organization is
authorized to serve by public authority.

"Leased Worker“ means a person leased to you
by a labor leasing firm under an agreement be-
tween you and the labor leasing tirm, to perform
duties related to the conduct of your business
"Leased worker" does not include a "temporary
worker". .

"Loss" means direct and accidental loss or dam-

_age.

"Mobile equipment" means any of the following
types of land vehicles, including any attached ma-
chinery or equipment ,

1. Bulldozers, fan'n.machinery. forklifts and other
vehcilcies designed for use principally off public
i'OE S;

2. Vehicies.maintained for use solely on or next
to premises you own or rent;

3. Vehicles that travel on crawler treads;

4. Vehicies, whether self-propelled or not, main-
tained primarily to provide mobility to perma-'
nently mounted:' ` '

a. Power cranes, shoveis, ioaders, diggers or
drills; or

b. Road construction or resurfaclng equip-
ment such as graders, scrapers or rollers.

5. Vehicles not described in Paragraphs 1., 2.,
3., or 4. above that are not self-propelled and
are maintained primarily to provide mobility to
permanently attached equipment of the foi-
lowing types:

a. Air compressors pumps and generators,
including spreying. weidlng, building
cleaning, geophysical exploration. lighting
and weil servicing eouipment; or `

b. Cherry pickers and similar devices used to
raise or lower workers

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CA 00 01 10 01

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6. Vehicles not described in Paragraphs 1., 2.,
3. or 4. above maintained primarily for pur-
poses other than the transportation of per-
sons or cargo. However, selt~propelled vehi-
cles with the following types of permanently
attached equipment are not "mobiie equip-
ment" but will be considered "autos":

a. Equipment designed primarily for:
(1) Snowremoval;

(2} Road maintenance but not construc-
tion or resurfaclng; or

(3) Street cleaning;

b. Cherry pickers and similar devices mount-
ed on automobile or truck chassis and
used to raise or lower workers; and

c. Air compressors. pumps and generators,
including spraying, welding, building
cleaning, geophysical exploration, lighting
or well servicing equipment

"Pollutants" means any 'solid, liquid, gaseous or D'

thermal irritant or contaminant, including smoke,
vapor, soot, fumes, acids, alka|is, chemicals and
waste. Waste includes materials to be recycled,
reconditioned or reclaimed. ’

P.

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. ‘.'Properi:y damage" means damage to or loss of

use of tangible property.
"Suit" means a civil proceeding in which:

1. Damages because of "bodily injury" or "prop-
erty damage"; or

2. A "covered pollution cost cr sxpense“,
to which this insurance applies, are alleged
"Suit" includes:

a. An arbitration proceeding in Which such
damages or "covered` pollution costs or
expenses" are claimed and to Which the
"insured" must submit or does submit
with our consent or

b. Any other alternative dispute resolution
proceeding in which such damages or
'covered pollution costs or expenses" are
claimed and to which the insured submits
with our consentl

"Temporaryl worker“ means a person who is l’ur-
nlshed to you to substitute for a permanent "em-
ployee" on leave or to meet seasonal or short-
term workload conditions

“Tral|er" includes semitrailer.

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COMMERC|AL AUTO
CA 00 38 12 02

THlS ENDORSEMENT CHANGES THE POL|CY. FLEASE READ iT CAREFULL'Y.
WAR EXCLUS|ON

This endorsement modihes insurance provided under the foilowing:

BUSINESS AUTU COVER.AGE FORM

BUS|NESS AUTO PHYSiCAL DAMAGE COVERAGE FORM

N|OTOR CARR|ER GOVERAGE FORM v
SINGLE iNTEREST AUTDMOB|LE PHYSlCAL. DAMAGE lNSURANCE POL|CY
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement the provisions of the Coverage Form apply unless
modified by the endorsement

A. Chan¢as in Liabillty Coverage (3) insurrection, rebellion, revolution,

CA 00 38 12 02

The War exclusion under Paragraph B.
Exclusions Of Section il - Liabi|ity Coverage is

replaced by the following:
WAR

"Bodin injury“, "property damage" or "covered
pollution cost or expense" arising directly or
indirectlyl out of:

a. War, including undeclared cr civil war;

b. Wariil<e action by a military force1 including
action in hindering or defending against an
actual or expected attack, by any
govemment, sovereign cr other authority
using military personnel or other agents; or

c. insurrection, rebellion, revolution, usurped
power, or action taken by govemmentai
authority in hindering or defending against
any of these.

. Changes in Garagekeap`ers Covelage

if the Garagekeepers Coverage endorsement or
the Garagekeepers Coverage - Custcmers’
Sound Receiving Equipment endorsement is
attached, the following exclusion ls added:

We will not pay for "loss" caused by~or
` resulting from the following. Such "loss" is
excluded regardless of any other cause or event
that contributes concurrently or in any
sequence to the "ioss“:

WAR _
(1) War, including undeclared or civil war;
(2) Warlike action by a military force,
including action in hindering or
defending against an actual or expected
attaci<. by any governmentl sovereign or

other authority using military personnel
or other agenis; or

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usurped power, or action taken by
governmental authority in hindering or
defending against any of these.

. Changes in Auto Medlcal Payments

inns Auta nearest Paymenis coverage

endorsement is attached, the Excius_ion C.E. is

replaced by the foilowing:

6. "Bodin injury", arising directly or indirectiy,
out of:

a. War,` including undeclared or civil war;

b. Warllite action by a military force,
including action in hindering or
` defending against an actual or expected
attaci<, by any govemment, scvereign,
or other authority using military
personnel or other agents; or

c:.l lnsurrection, rebeiiicn, revolution,
usurped power, or action taken by
governmental authority in hindering or
defending against any of these.

. Changes in UninsuredlUnderinsured illlotorists

Coverage

if Uninsured and/or Underinsured Motorists
Coverage ls attached, then the following
exclusion is added:

This insurance does not apply tc:
WAR

'|. "Bodiiy injury" or "property damage". if
applicable arising directly or indirectiy, out
o :

a. War,' including undeclared or civil war;

b. Wariike action by a military force,
including action in hindering or
defending against an actual or expected
atlacl<, by any government sovereign or
other authority using military personnel
or other agents; or

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c. insurrection, rebellion, revolution, c. insun'ection, rebellion, revolution,
usurped power, or action taken by. usurped power, or action taken by
governmental authority in hindering or governmental authority in hindering or
defending against any of these. defending against any of these.

E. Changes in Personai injury Protection Coverage F. Changes in Sing|e interest Automobiie Physicai
t. if_Personai injury i:'rotectiorr, no-fauit, or Da""age insurance P°ii‘:¥
other similar coverage is attached, and: The War exclusion is replaced by the foilowing:
a. Contains, in Whoie or in part, a War a. War, including undeclared or civil war;

exclusi°"' thai exclusion is replaced by b. Wariike action by a military force, including

Pamgraph 2' action in hindering or defending against an
b. Does not contain a war exciusion, actual or expected attack, by any
Paragraph 2. is added. govemment, sovereign or other authority
2_ This insurance does not app`|y to: using military personnel or other agents; or
wAR c. lnsurrection, rebellion, revolution, usurped

power, or action taken by govemmentai
authority in hindering or defending against
any of these.

"Bodiiy injury" or "property damage”, if
applicabie, arising directly orindirectly, out
of:

a. War, including undeclared or civil war;

b. Wariiice action by a military iorce,
including action in hindering or
defending against an actual or expected
attack, by any government sovereign or
other authority using military personnel
or other agents; or

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insert Form

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Employee Hired Autos

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COMMERG|AL AUTO
'CA 20 55 10 l`.l'l

TH|S ENDDRSEMENT CHANGE THE POLICY. PLEASE READ IT CAREFULLY.

FELLOW EMPLO‘(EE COVERAGE

This endorsement modifies insurance provided under the following:
BUS!NESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARR|ER‘COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement the provisions of the Coverage Form
apply unless modified by the endorsement.

The. Feiiow Empioyee Exclusion contained in Section ll - Liabi|ity Coverage does not apply.

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cA 23 s1 12 02

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

l EXCLUS{OH OF CERTiFiED ACTS GF '!"ERRDFJSM AND
OTHER ACTS OF TERROR|SM

This endorsement modifies insurance provided under the foilowing:

BUSiNESS AUTCI COVERAGE FORM .

BUS|NESS AUTO PHYSiCAL DAMAGE COVERAGE FORM

GARAGE COVERAGE i-`-'.ORM l

N|OTOR CARR|ER COVERAGE FORM

SlNGLE iNTEREST AUTOMOB|LE PHYS|CAL DAMAGE lNSURANCE POLiCY
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement the provisions of the Coverage Forrri apply unless
modified by the endorsement

A. Except with respect to Physicai Damage 2. Fifty or more persons sustain death or serious
Coverage, Trailer interchange Coverage, physical injury. For the purposes of this
Garagekeepers Coverage,'Garagei<eepers provision, serious physical injury means:

Covera e - Customers' Souncl Receivin . . . . ` . .
Enuinmgent mine Singie interest Auinmgnbiie a. Physical.iniury that involves a substantial risk
Physioai Damage insurance Policy, the following of death' or ~

exclusion is added: b. P_rotracted and obvious physical

This insurance does not apply to: d'Sngumme“t; °r

TERRUR|SM c. Protracted loss of or lmpaim'ient of the

function of a bodily member or crgan; or
Any "bodiiy injury"l "property damage", '

.. - . .. . - 3. The terrorism involves the use, release or escape
personaii| injury ' or covered pollution C-‘:'St ar of nuclear materiais, or directly or indirectly

expense , as may be defined in any applicable n . . d. n

Coverage Form or endorsement arising directly re§'i" 3 ".‘ “u°{e‘;"' rsi"ac,:i'°"_°"a 'a °n °r

er indirectly out of a "oeriiiied aci oriermrism" la °3°“"€ °°" am “a °“' °'

4 or an ”other act of terrorism". However, with 4_ The terrorism is married cut by means of the
respect to an "other act of terrorism"l this dispersai or application of pat|‘iogenic or
exclusion applies only When One'Or'mOI’S Of the poisonous biological or chemical materiais; or
following are attributed to such act2 . . . .

_ y 5. Pathogenic or poisonous biological or chemical
1- The iOiE| of insured damage to all types Of materials are released, and it appears that one
property exceeds $25,000.000- ll'i purpose of the terrorism was to release such
determining whether the $25,000,000 materials

threshold is exoeeded-, we will include ali _ , . .
insured damage sustained by property ni= aii With respectto this exclusion, F‘aragraphs 'i. and 2.
persons and entities affected by the terrorism des°"be the thresh°ids Used to measure the

and business interruption losses sustained by magnitude of an incident °f an "°ther act of

owners or occupants of the damaged terrorism" and the circumstances in which the_ _ _
insured damage means damage that is whether this exclusion will apply to that incident.

covered by any insurance but for the
application of any terrorism exclusions; or

cA 23 61 12 02 @ iso i=mperiies, inc.,`zooz sage 1 of 2

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l3. With respect to Physlcai Damage Coverage,

Trai|er interchange Coverage, Garagekeepers
Coverage, Garegel<eepers Coverage - Customers'
Sourid Receiving Eq uipment or the Single
interest Automobile Physical Damage insurance
Policy, the following exclusion is added'.

This insurance does not apply to:
TERRDRISM

Any "ioss", loss of use, or rental reimbursement
after “io_ss", arising directly or indirectly out of a
"certified act of tarrorism" or an "other act cf
terrorism". However, with respect to an "other
act of terrorism", this exclusion applies only
when one or more of the following are attributed
to such act:

1. The total of insured damage to ali types of
property exceeds $25,000,000. in
determining whether the $25,000,000
threshold is exceeded, we will include ali

insured damage sustained by property of ali
persons end entities affected by the
terrorism and business interruption of the
damaged property. For the purpose of this
provisionr insured damage means damage
that is covered by any insurance plus
damage that would be covered by any
insurance but forthe application of any
terrorism exciusions; or

2. The terrorism is carried out by means of the
dispersai or application of pathogeriic or
poisonous biological or chemical materia|s; or

3. Pathogenic or poisonous biological or
chemical materials are released, and.it
appears that one purpose of the ten'orism
was to release such materials

With respect to this exclusion, Paragraph 1.
describes the threshold used to measure the
magnitude of an incident of an “other act of
terron`sm" and the circumstance iri which the
threshold will apply for the purpose of
determining whether this exclusion Wili apply to
that incident.

C. The following definitions are added:

'i. "Certified act of terrorism" means an act that
is certified by the Secretary of the Treasury.
in concurrence with the Secretary of State
and the Attomey General of the United
States, to be an act of terrorism pursuant to
the federal Terrorism Risk insurance Aot of
2002. The federal Terrorism Rlsl< insurance
Act of 2002 sets forth the-following criteria
for a "oartified act of terrorism":

' a. The act resulted in aggregate losses iri
excess of $5 miliion: and

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b'. The act is a violent act or an act that is
dangerous to human llfe, property or
intrastructure and is committed by an

' individual or individuals acting orr behalf
of any foreign person or foreign interest
as part of an effort to coerce the civilian
population of the United States or to
influence the policy or affect the conduct
of the United States Govemment by
vcoercion

2. "Other act of terrorism" means a violent act
or an act that is dangerous to human life,
property or infrastructure that is committed
by an individual or individuals and that
appears to be part of an effort to coerce a
civilian population or to influence the policy
or affect the conduct of any government by
coercion, and the act is riot codified as a
terrorist act pursuant to the federal Terrorism
Risk insurance Act of 2002. Muitipie
incidents of an “other act of terrorism"
which occur within a seventy-two hour
period and appear to be carried out in
concert or to have a related purpose or
common leadership shall be considered to be
-one incident. `

D. in the event of any incident of a "certified act of

terrorism” or an "other act of terrorism'l that is
not subject to this exclusion, coverage does not
applth any "bodily injury", "property demage",
"personal iniury", "personat and advertising
injury", "ioss", loss of use, rental reimbursement
after "loss" or "covered pollution cost or
expense" that is otherwise excluded under this
Coverage Form or any applicable endorsement

Page 2 of2

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lnsert Form

CA9903 1293

Ath N|edica| Payments Coverage (CA,LA,MN,R|)

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COMMERC!AL AUTO
CA 99 33 02 99

mrs ENDoRsE|MEN'r cHANGEs THE PoLroY. 'PLEAsE READ rr cAREFuLLY.
EMPLOYEES AS lNSUREDS

This endorsement modifies insurance provided under the following:

BUS|NESS AUTO COVERAGE FDRM
MOTOR CARR|ER COVERAGE FORM
TRUCKERS COVERAGE FOR|V|

With respect to coverage provided by this endorsomsn'c1 the provisions of the Coverage Fonn apply unless
modiHed _by the endorsement '

The following is added to the Seotlon ll § Liability Coverage, F'aragreph A.1. W_ho ls An insured Provision:

Any "employee" of yours is-an "insured" while using a covered "euto" you don't own, hire or borrow in your
business or your personal affeirs.

Ha': Forma & Servioe:
Reordar No. 14-8291

CA 99 33 02 99 Copyrlght, lnsurance Services Ofnce, lnc., 1998_ Page 1 of‘l

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MOTO

COMMERC|AL AUTO
CA 99 43 09 02

TH|S ENUORSEMENT CHANGES THE POL|CY. PLEASE READ IT CAREFULLY.

POLLUT|ON LlABlLlTY‘-‘BROADENED COVERAGE
FOR COVERED AUTOS - BUS|NESS AUTO, '

BUS|NESS AUTO CUVERAGE FORM
|VIOTOR CARRIER COVERAGE FORM `
TRUCKERS COVERAGE FCRM

With respect to coverage pro
moditi

A. Liabiltty Coverage is changed as follows:

1.

2'

Paragraph a. of the Pollutlon Ei<clusion ap-
plies only to liability assumed under a con-
tract or agreement. -

With respect to the coverage afforded by
Paragraph A.1. above, Exclusion B.S. Care,
Gustody Or Contro| does not apply.

E. Changes ln Detinitions

For the purposes of this endorsement Para-'

‘ graph D. of the Deflntt|ons Section is‘replaoed

by the following:

F-t CARREER AND TRUCKERS CGVERAGE FGPMS

This endorsement modihes insurance provided under the following:

vided by this endorsementl the provisions of the Coverage Form apply unless
ed by the endorsement . '

a. Before the "poiiutants" or any prop-
erty in which the "poiiutants" are
contained are moved from the place
where they are accepted by the "in-
sured" for movement into or onto
the covered "auto"; orl

b. After the "poiiutants" or any prop-
erty ln which the "pollutants" are
contained are moved from the cov-
ered "euto" to the place where they
are finally delivered, disposed of or-
abandoned by the "insured".

D. "Govered pollution cost or expense" means F'aragraphs alj and b. above do not ap-
any cost or expense arising out of: §§ to "ari:cidents" dth§t occur taéiiray
'i. Any request, demand, order or statu- npr-pmm S.E.’S °-Wne y or regs o
tory or regulatory requirement or an ,!"Sur"°td W'th respect to P°"ut;
_ n _ n ants not in or upon a covered auto
2. Any claim or suit by or on behalf of a if;

governmental authority demanding l m The ..po"utants,. or any proper_l
that the ‘lnsured" or others test for, moni- ty in which the "poiiutants" are
tor, clean up, remove, contain. treat, detox- contained are upset, overturned
|fY Ol' neutraliz€» °i' in any Way respond tOi or damaged as a result of the
or assess the effects of "po|lutants". maintenance or use of a .¢o\,-.

"Covered pollution cost or expense" does » ered "auto"; and
not include any cost or expense arising out (2) The discharge dispersal, seep.
Of the BCtUaI, ENEng O|' threatened diS- age, mi ration, release or es.
charge, dispersal, seepage, migration1 re~ sane n the "poiiutants" is
lease orescape Of "pollutanfs"= caused direciiy by such upset

overturn or damage.

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Unlform

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r

CBMMERCIAL AUTO
CA D'i 50 02 03

Ti-iis ENnoRsEiviEN'r cHANoEs 'ri-ia PoLicY. PLEAsE esso iT cAREFuLi_Y.
|~OWA CHANGES

This endorsement modihes insurance provided under the foilowing':

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

N|OTOR CARR!ER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided under this endorsement, the provisions of the Coverage Form apply un-
less modihed by the endorsement

Changes in Conditions _ n
The following is added to the Legal Action Against Us Condition:

However, a-jucigment creditor shall have a right to sue us to recover an execution on a judgment returned
unsatisfied against an "insured" to the same extent that such "insured" could have enforced the "insured's"

claim against us had the "insured" paid such judgment but we will not be liable for damages that are in ex-'
sess of the applicable limit of insurancel

CA 01 60 02 03 ` Copyrlght, lSO Propertles, lnc., 2002 ' Page 1 oft
Unif°|'m

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POLlC¥ NUMBER: CA 850500/-\ v CGMMERClAL AUTD
. CA 21 12 04 01
THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

lOWA UNINSURED AND UNDERlNSURED
MOTOR|STS COVERAGE

For a covered "_at.ito" licensed or principally garagsd in, or "garage operations" conducted in, lowa, this en-
dorsement modifies insurance provided under the foilowlng: , '

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM ‘

With respect to coverage provided by‘this endorsement the provisions of the Coverage Form apply unless
moditied by the endorsement -

This endorsement changes the policy effective on the inception date of the policy unless another date is in-
dicated beiow.

Endorsement Effective: 01 rim j04 ` 4 l

 

 

 

 

 

 

;_ Countersigned By
Named lnsured: _
BRO|N AND ASSOC|ATES iNC
'SCHEDuLE (Authorized Representative)
LlMlT OF LlABlLlT’i'
1, 000. 000 Each "Accident"

 

 

 

 

The definition of "unlnsured motor vehicle‘_' in this endorsement applies in its entirety unless an "X" is en-
tered below:

,`[ ] if an “X" is entered in this box Paragreph b. of the definition of "i.ininsured motor vehicle" does not ap-

 

 

P ll-
[Xi if an "X" is entered in this box only Paragraph b. of the delinitlon of ”uninsured motor vehioie" applies

 

(if no entry appears above, information required to complete this endorsement will be shown in the Dec-
larations as applicable to this endorsement.)

A. coverage _ b. t`i¢iiN tentative seti|e.r;ii'ient£ia§ been mede¢ 1bhc-
- ii- .. - sen an "insure " an e insurero a
1. We will pay all sums the insured is legally Vemcle described in Paragraph h_ of the
entitled to recover as com ensatory damages definition Of i.uninsured motor vehic|e"
from the owner or driver o an "uninsured mo~ and We. _
tor vehicle". The damages must result from '
"bodily injury" caused by an “accident". The (1) Have been given prompt written no-
ownter's oi|'tc;river'§\iiability fo|:_ ti'iese_d;mages tice of such tentative settlement and
mus msu r.?m- a owners 'p’ m-a'n.. nance (2} Advance payment to the "insured" in
or use of the uninsured motor vehicle . an amount equal m the tentative Set_
2. With res eot to damages resulting from an tiement within 30 days after receipt of
"acoiden ' with a vehicle described in Para- ' notification'.

graph b. of the definition of "uninsured motor _
vehicle", we Wili pay under the coverage se- B' Wh° ls A" l"s""°d

lasted under this endorsement only if a. or b. if the Named insured is designated in the Deciara-
below applies: tions as:
a. The limit of any applicable liability bonds 1. An ndlvidual, then the following are "insur-

i
or policies have been exhausted by pay- eds": 1
merit of judgments or settiements; or

Harl: Forms a Sarvioeo
Reorder No. 14-0643

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a. The Named insured and any"'family mem-
bers".

b. Anyorie else "occupying" a covered "au-
to' or a temporary substitute for a cov-
ered "auto". The covered "auto" must be
out of service because of its breakdown
repair, servicing, "loss" or destruction

c-. Anyone for damages he or she is entitled
to recover because of "bodily injury" sus-
tained by another "insured".

2. A partnership limited liability company, cor-
poration or any other form of organization,
then the following are "lnsureds":

a. Anyone "occupying" a_ covered "euto" or
a temporary substitute for a covered "au-
to". The covered "auto" must be out of
service because of its breakdown, repair,
servicing, "loss" or destruction

b. Anyone for damages he or she is entitled
to recover because of "bodiiy injury" sus-
tained by another “insi.ired“.

C. Exc`iusions

This insurance does not apply to any of the fol-
lowing: .

- 1. Any claim settled without our consent. How-
ever, this exclusion does not apply to a settle-

ment made with the insurer of a vehicle de- ‘

scribed in Paragraph b. of the definition _of
"uninsured motor vehicle", in accordance with
the procedure described in Paragraph A.Z.b.

'2. The direct or indirect benefit of any insurer or
self-insurer under any workers‘ compensation
disability benefits or similar iaw.

3. Anyone using a vehicle without a reasonable
belief that the person ls entitled to do so.

4. "Bodin injury" sustained by an individual
Named insured while "occupying" or struck
by any vehicle owned by that Named insured
which is not a covered "auto".

5. Puniiive or exemplary damages
D. Limit Of insurance

'i. Regardless of the number of covered "autos",
"lnsureds", premiums paid, claims made or
vehicles involved in the "accident", the most
We-Wiii pa for ali damages resulting from any
one "acci erit" is the Limit Of insurance For
Uninsured And Underinsured l‘vlotorists Cov-
erage shown in this endorsement

2. With respect to damages resulting from an
"accident" With an "uninsured motor vehicle",
as defined in Paragraphs F.B.a., c. and d. of
the definition of "uni'nsured motor vehicle",
the Limit of insurance shall be reduced by:

a. Aii sums paid or payable under any work-
ers‘ compensation, disability benefits or
similar law; and

b. Ail sums paid by or for anyone who is

. legally responsible inciuding ali sums paid

under this Coverage Form‘s Liabillty Cov-
erage.

3. No one Wili be entitled to receive duplicate
payments for the same elements of "loss" un-
ger this Coverage and any Llabiiity Coverage

omi. 4

We Wili not make a duplicate payment under
this Coverage for any element of "loss" for
which payment has been made by or for any-
one who ls legally responsible

We will not pay for any element of "loss" if a
person is entitled to receive payment for the
same element of "loss" under any workers'
Icompensaticin, disability benefits or similar
aw.

E. Changes in Conditlons

The conditions of the policy are changed for Unin-
1si.i]il'ed land Underinsured Motorlsts Coverage as
o ows:

1. Other insurance in the Business Auto and G‘a-
rage Coverage Forms and Other insurance -
Primary And Excess insurance Provisions iri
the Truckers and Motor Carrier Coverage
Forms are replaced by the foilowing:

if there is other applicable insurance available
under one or more policies or provisions cf
coverage: ~ .

a. The maximum recovery under all coverage
forms or policies combined may equal but
not exceed the highest applicable limit for
any orie vehicle under any coverage form
or policy providing coverage on either a
primary or excess besls.

b. Any insurance we provide with respect to
a vehicle the Named insured does not
own shall be excess over any other col-
lectible uninsured or underinsured motor-
ists insurance providing coverage on a pri~
mary basis.

c. if the coverage under this coveer form
is provided:

('l) On a primary basis, we Wili pay only
our share of the loss that must be
paid under insurance providing cov-
erage on a primary basls. Our share is
the proportion that our limit of liability
bears to the total of all applicable lim-
its of liability for coverage on a pri-
mary basis.

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(2)On an excess basis, We Wili pay only
our share of the loss that must be
paid under insurance providing cov-
erage on an excess basis. Our share is
the proportion that our limit of liability
bears to the total of ali applicable lim-
its of liability for coverage on an ex-
cess basis.

. Duties in The Event Of Accir:|ent, Ciaim, Suit

or Loss is changed by adding the foilowing:

a. i-"romptiy notify the police if a hit~and-run
driver is invoived; and

b. Promptiy send us copies of the legal pa-
pers if a suit is brought.

c. A person seeking coverage from an in~
surer. owner or operator of a‘vehicie de-
scribed in Paragraph b. of the definition of
"uninsured motor vehicie’l must also
promptly notify us in writing of a tentative
settlement between the "insured" and the
insurer and allow us to advance payment
to that "insured" in an amount.equa| to
the tentative settlement .within'SCi days
after receipt of notiitcation to preserve our
rights against the insurer. owner or op-
erator of such vehicie. ' -

. Transfer Of Rights Of Recovery Agalnst Oth-
ers Te Us is replaced by the foilowing:

a. With- respect to Paragraph b. of the
dennition of "uninsured motor vehicie". if
any person or organization to or for Whom
we make payment under this coverage
has rights to recover damages from
another, those rights are transferred to
us. That person or organization must do
everything necessary to secure our rights
and must do nothing after "acoident" or
"loss" to prejudice them.

h. if we make any payment and the "in-
sured" recovers from another party, the
"insured" shall hold the proceeds in trust
for us and pay us back the amount we
have paid, less our pro rata share of ex-
penses incurred in recovean those
damages However, with respect to Para-
graph b. of the definition of "uninsured
motor vehicie", We shall be entitled to re-
covery only after the "insured" has been
fully compensated for damages '

Our rights do not appiy under this pro-
vision with respect to damages caused by
an "acoident" With a vehicle described in
Paragraph b. of the definition of "un-
insured motor vehicla" if we:

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(1) Have been given prompt written r`io~
tice of a tentative settlement between
an "insured" and the insurer of a ve-
hicle described in Paragraph b. of the
definition of "uninsured motor ve-
hicle"; and

{2) Faii to advance payment to the "in- ,
aured" in an amount equal to the ten-
tative settlement within 30 days after
receipt of notiiication.

if we advance payment to the "insured" in
an amount equal to the tentative set-
tlement Within 30 days after receipt of
notification:

(1) That payment will be separate from
any amount the "insured" is entitled
to recover under the provisions of Un-
insured Motorists Coverage; and

(2) We also have a right to recover the
advance payment

F. Additiona| Defiriit|ons .
As used in this endorsement

1.

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"Famiiy member" means a person related to
an individual Named insured by biood, mar-
riage cr adoption who is a resident of such
Named insured‘s househoid, including a ward
or foster chiid. ' '

"Occupying" means in, upon, getting in, on1
outer off.

"Uninsi._ii'ed motor vehicie“ means a land rno-
tor vehicle or "traiiei'":

a. For which no liability bond or policy at the
time of en "acoident" provides at least the
amounts required by the iowa l\rlotor

' Vahicle and Safety Responsibility Act; or

b. That is an underinsured motor vehicie. An

underinsured motor vehicle is a land mo-
tor vehicle or "trailer" for which the sum
of ali liability bonds or policies at the time
of the "acoident" do not provide at least
the amount an "insured" is legally entitled
to recover as damages resulting from
_ "bodily injury" caused by the "accldent“.

o. For Which an insuring or bonding com-
pany denies coverage or is or becomes in-
solvent or

d. That is a hit-and-run vehicle and neither

the driver nor owr_ier can be identified
The vehicle must hit an '_'insi.ired", a cov-
ered "auto" or a vehicle an "insured" is
occupying".

F'age 3 of 4

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i-lowever. "uninsured motor vehlcie" does not b. Owned by a governmental unit or agency;

include any vehicle: or

a. Owned or operated by a self-insurer under c. Designed for use mainly off public roads
any applicable motor vehicle law, except a while not on public rcads.

self-insurer who is or becomes insolvent
and cannot provide the amounts required
by that motor vehicle law;

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CQMMERC|AL AUTC|
CA 01 10 10 01

THis ENooesEiiiiEnT ci-iAivcEs 'ri-is PoLicv. PLEAsE esso iT cAREi=uLi_v.
MlCHlGAN CHANGES

l=or a covered "euto" licensed or principally garaged inq or "g`arage operations" conducted in, l\.'iich|gen. this
endorsement modifies insurance provided under the foilowlng:

BUS|NESS AUTO CDVERAGE FORM

BUSlNESS AUTO PHYSlCAL DAMAGE COVERAGE FORM
GARAGE COVERAGE FORM

l’leTOR CARR|ER COVERAGE FCiRM

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement the provisions of the Coverage Form apply unless
modified by the endorsementl .

a. Revise Paragraph a. to allow you, or any-
one on your behalf. to provide the notice
necessary to satisfy this Condition.

A. Changes in Liabiilty Coverage

1. For a covered "euto" subject to the Michigan
no-fauit law,~ Liabiiity Coverage does not apply

to "property damage" to a motor vehicle
caused by an "accident" "occurring" in Michi-
ganl

. Paragrapl'i a.(2)(d){i) and {ii) of the Who is An
insured Provisio`n in the Garage Coverage
Form is replaced by the foilowing:

Your customars, if your business is shown in
the Deciarations as an "euto" dealership, but
only up to the compulsory or financial respon-
sibility law limits where the covered "auto“ is
principally garaged. ~

b. Add the following paragraph:

Faiiure to give any notice required by this
Condition within the time period specified
_sh_aii riot invalidate any claim made by you
if it shall be shown not_to have been rea-

' sonabiy possible to give notice within the
prescribed time period and that notice
was given as soon as was reasonably
possibie.

2. The Dutles in The Event Of Loss Condition in

the Business Auto Physioa| Damage Coverage

.Form le amended tc:
a. Revise F-'aragraph a. to allow you, or any-

B. Changes in Physica! Damage Coverage

Any F*hysimi Damage Coverage and any Rental . .
Reimbursement Coverage provided by the policy g;:e::aym§; :;E;£;' §§pé%¥:gii;:e notice
do not apply to the extent that Property Protec- ry . '

tion Coverage benefits are available as required by b. Add the following paragraph:

M'chigan IEW' Faliure to give any notice required by this
C,_ changes in Conditions Condition within the time period specified

. . hall not invalidate any claim made by you
1. The curiae in rha avant or Aeeldem, ciaim -S -
Suit Or Loss Condition in the Business Auto: if lt sham be Sh°Wn not to have been rea'

. sonany possible to give notice within the
;;un:]kse§’ex:;%'£?g_'er and Garage Coverage prescribed time period and that notice-

was given as soon as was reasonably
possible

GA 01 10 10 01 Copyright, iSO Properties, lnc., 2000 Page1 of'l _

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insert Form

CA0217 0394

Michigan Changes - Canc'ellation and Nonrenewal

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POL|CY NUMBER: CA 85UEUDA

For a covered "euto"
endorsement moditie

CDMMERC|AL AUTG
CA 21 31 07 03

THIS ENDORSEMENT GHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

MlCHlGAN UNINSURED MOTOR|STS COVERAGE

BUSiNESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARR|ER COVERAGE FORN|
TRUCKERS COVERAGE FORM

With respect to coverage provided b

modified by the endorsement.

This endorsement changes the
indicated below.

licensed or principally garaged in, or "garage operations" conducted in, l\rlichiganl this
s insurance provided under the following:

y this endorsement the provisions of the Coverage Form apply unless

policy elfective on the inception date of the policy unless another date is

 

Endorsement Effective: 01 /01104

Countersigned By

 

Named lnsured:
BROlN AND ASSOClATES lNC

(Authorized Repressntative)

 

SCHEDULE

 

Lii.iir oF insuRAi~icE

 

 

$1,000.000

Each "Acclderit"

 

 

 

{lf rio entry appears above, information re

Declarations as applicable to this endorsement)

A. Coverage - .
. 1. We will pay all sums the "insured" is legally

CA 21 31 07 03

entitled to recover as compensatory
damages from the owner or driver of an
"uninsured motor vehicle". The damages
must result from "bodiiy injury" sustained
by the "insured" caused by an "acoident".
The owner's or driver's liability for these
damages must result from the owneishlp,
maintenance or use of the ‘funinsured motor
vehicie".

With respect to damages resulting from an
"accident" with a vehicle described in
Paragraph b. of the definition of "unlnsured
motor vehicle", we will pay under this
coverage only if a. or b. below applies:

a. The limit of any applicable liability bonds
or policies have been exhausted by
payment of judgements or settlements;
or

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quired to complete this endorsement will be shown in the

b. A tentative settlement has been made
between an "insured" and the insurer of
a vehicle described iri Paragraph b. of
the delinition of "unlnsured motor
vehicle" and we:

(1) _Have been given prompt written
notice of such tentative settlement
and

(2} Advance payment to the "lnsured'l
in an amount equal to the tentative
settlement within 30 days after
receipt of notification.

3. Any judgement for damages arising out of a

"suit" brought without our written consent
is not binding on us.

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B. Who is An insured

if the Named insured is designated in the
Deciarations as:

1. An individual, then the following are
"lnsureds":

a. The Named insured and any "famiiy
mambers".

b. Anyone else "occupylng" a covered
"auto", or a temporary substitute for a
covered "auto". The covered "euto"
must be out of service because of its
breakdown, repair, servicing, "loss" or
destruction

c. Anyone for damages he or she is
entitled to recover because of "bodiiy
injury" sustained by another "lnsured".

2. A partnership, limited liability company,
corporation or any other form of
organization, then the following are
"lnsureds":

a. Anyone "occupying" a covered "euto" or
a temporary substitute for a covered
"auto". The covered "euto" must be
out of service because of its
breakdown, repair, servicing, "loss" or
destruction.

b. Anyone for damages he or she is
entitled to recover because of "bodily
injury" sustained by another "insured".-

C. Exclus|ons

This insurance does not apply to any of the
following:

1. Any claim settled without our consent
However, this exclusion does not a ply to a
settlement made with the insurer o a
vehicle described in Paragraph b. of the
definition of "uninsured motor vehicle“, in
accordance with the procedures described
in Paragraph A.Z.b.

2. The direct or indirect benefit of any insurer
or self-insurer under any workers'
lcompensation, disability benefits or similar
aw.

3. "Bodiiy injury" sustained by:

a. An individual Named insured while "
"occupying" or when struck by any
vehicle owned by that Named insured
that is not a covered "auto" for

Uninsured Motorists Coverage under
this Coverage Form;

b. Any "famlly member" while `
"occupyingll or when struck by an

y .
vehicle owned by that "famil member"

that is not a covered "auto" or
Uninsured Motorists Coverage under
this Coverage Form; or

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c. Any "family member" while "occupying"
or when struck by any vehicle owned by
the Named insured that is insured for
Uninsured ivlotorlsts Coverage on a
primary basis under any other Coverage
Form or poiicy.

4, Anyone using a vehicle without a reasonable
belief that the person is entitled to do so.

5. Punitive or exemplary damages

D. Limit Of insurance

1. Regardiess of the number of covered
"autos", "insureds", premiums pald, claims
made or vehicles involved in the "acoident",
the most we will pay for all damages
resulting from any one "accldent" is the
Limit Of insurance for Uninsured Motorists
Coverage shown in the Schedule or
Declarations.

2. No one will be entitled to receive duplicate
payments for the same elements of "loss"
under this Coverage Forrn, any Llability
Coverage Form, or any l\rledical Payments
Coverage Endorsement attached to this
Coverage Part.

We.wili not make a duplicate payment under
this Coverage for any elementh "loss" for
which payment has been made by or for
anyone who is legally responsible

We will not pay for any element of "loss" if a
person is entitled to receive payment for the
same element of "loss" under any workers'_
compensation disability benefits or similar
aw. .

E. Changes in Coriditions

The conditions are changed for Uninsured
l\ilotorists Coverage as follows:

1. other insurance in the Eusiness Auto and
Garage Coverage Forms and Other insurance
- Primary And Excess insurance Provislons iri
the Truckers and Motor Carrier Coverage
Fom‘is are replaced by the following:

if there is other applicable insurance available
under one or more policies or provisions of
ccverage:

a. The maximum recovery under ali
coverage forms or policies combined may
equal but not exceed the highest
applicable limit for any one vehicle under
any coverage form or policy providing
coverage on either a primary or excess
basis.

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b. Any insurance we provide with respect
to a vehicle the Named insured does not
own shall be excess over any other
collectible uninsured motorists insurance
providing coverage on a primary basis.

lt the coverage under this coverage form
is provided:

{1) On a primary basis, we will pay only
our share of the loss that must be
paid under insurance providing
coverage on a primary basis. Our
share is the proportion that our limit
of liability bears to the total of all
applicable limits of liability for
coverage on a primary basis.

. (2) On an excess basis, we will pay only
our share of the loss that must be
paid under insurance providing
coverage on an excess basis. Our
share is the proportion that our limit
of liability bears to the total of all
applicable limits of liability for
coverage on an excess basis.

Duties in The Event Df Acciderit, t'$lain‘il Suit
Or Loss is changed by adding the following:

a. Promptly notify the police if a hit-and-mn
driver is invoived, and

b. Promptly send us copies of the legal
papers if a “suit" is brought

c. A person seeking coverage from an
lnsurer. owner or operator of a vehicle
described in Paragraph b. of the
definition of "uninsured motor vehicle"
must also promptly notify us in writing
of a tentative settlement between the
"insured" and the insurer of the vehicle
described in Paragraph b. of the
definition of "uninsured motor vehicie"
and allow us to advance payment to that
"insured" iri an amount equal to the
tentative settlement within 30 days after
receipt of notification to preserve our
rights against the lnsurer, owner or
operator of such vehicle described in
Paragraph b. of the definition of
"uninsured motor vehicie".

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3. The Legai Action Against Us provision is

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replaced by the iollowing:

a. No one may bring a legal action against
us under this Coverage Form until there
has been full compliance with ali the
terms of this Coverage Form.

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b. Any legal action against us under this
Coverage Form must be brought within
three years after the date of "accident".
However, this paragra h 3.b. does not
apply to an "insured" f, within three
years after the date of the "accident":

(‘l) We and the "insured" agree to
' arbitration in accordance with this y
endorsement or

(2) The "insured" has filed an action for
“bodl|y injury" against the owner cr
operator of a vehicle described in
Paragraph b. of the definition of
"uninsured motor vehicie" and such
action is:

{a) Flied in a court of competent
jurisdiction; and

(b) Not barred by the applicable
statute of limitationsl

in the event that the three year time
limitation identitied in this condition does
not appiy, the applicable state statute of
limitations will govern legal action
against us under this Coverage Form.

4. Transfer Of Rights Of Recovery Against

_Clthers To Us is changed by adding the
following:

if we make any payment and the "insured"
recovers from another party, the "insured"
shall hold the proceeds in trust for us and
pay us back the amount we have paid.

Our rights do not apply under this provision
with respect to damages caused by an
"accldent" with a vehicle described in
Paragraph b. of the definition of "uninsured
motor vehicle" if we:

a. Have been given prompt written notice
of a tentative settlement betiiveen an
"insured" and the insurer of a vehicle of
a vehicle described in Paragraph b. of the
definition of 1‘uninsured motor vehicle"
and

b. Fail to advance payment to the "insured"
in an amount equal to the tentative
settlement with 30 days after receipt of
notification. `

if we advance payment to the "insured" in
an amount equal to the tentative settlement
within 30 days after receipt of notification:

a. That payment will be separate from any
amount the "insured" is entitled to
recover under the provisions of
Uninsured ivlotorists Coverage; and

b. We also have a right to recover the
advance payment

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5.

The following condition is added:
ARB|TRAT|DN

a. if we and an "insured" disagree whether .
the “lnsured" is legally entitled to recover
damages from-the owner or driver of an
"uninsured motor vehicle" or do not
agree as to the amount cf damages that
are recoverable by that "insure ", then
the matter may be arbitrated. However,
disputes concerning coverage under this
endorsement may not be arbitrated.

Both parties must agree to arbitration. if
so agreed, each party will select an
arbitrator. The two arbitrators will select
a third. if they cannot agree within 30
days, either may request that selection
be made by a judge of a court having
jurisdiction. Each party will pay the
expenses ii incurs and bear the expenses
of the third arbitrator equally.

b. Uniess both parties agree otherwise,
arbitration will take place in the county in
which the "insured" lives. i_ocai rules of
law as to arbitration procedure and
evidence will apply. A decision agreed to
by two of the arbitrators will be binding.

F. Addttionai Deflnitions
As used in this endorsement

1.

CA 21 31 07 03

"Famiiy member" means a person related to
an individual Named insured by blood,
marriage or adoption who is a resident of
such Named lnsured‘s household, including a
ward or foster child.

"Occupylng“ means in, upon. getting in, on,
out or off.

"Uninsured motor vehir:.le"v means a land
motor vehicle or "traiier":

a. For which no liability bond or policy at
the time of an "accldent" provides at
least the amounts required by the
applicable law where a covered “auto" is
principally garaged:

~`.

b. That is an underinsured motor vehicie. An
underinsured motor vehicle is a land motor
vehicle or "trailer" for which the sum of all
liability bonds cr policies at the time of an
"accldent" provides at least the amounts
required by the applicable law where a
covered “auto" is principally garaged but that
sum is less than the Limit of insurance of
this coverage;

c, Fo_r which an insuring or bonding company
denies coverage or.is or becomes insolvent;
or

d. That is a hit-and-run vehicle and neither the
driver nor owner can be identified The
vehicle must hlt, or cause an object to hit, an
"insured", a covered “auto" or a vehicle an
"insured" is "occupying“. if there is no
direct physical contact with the hit-and'run
vehicle, the facts of the "accident“ must be
corroborated by competent evidence, other
than the testimony of any person having a
claim under this or any similar insurance as
the result of such “accident".

However, "uninsured motor vehicle" does not
include any vehicie:

a. Ciwned or operated by a self-insurer under
any applicable motor vehicle law, except a
self-insurer who is or becomes insolvent and
cannot provide the amounts required by that
motor vehicle law;

b. Owned by a governmental unit or agency; or

c. Designed for use mainly off public roads

while not on public roads.

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MiCH|GAN PERSONAL lNJURY PROTECT|ON

For a covered “auto" licensed or principally garaged in, or "garage operations“ conducted in, Michigan. this
endorsement modifies insurance provided under the foilowing:

BUSlNESS AUTO COVERAGE FGRM
GARAGE COVERAGE FORM

MGTOR CARR|ER COVERAGE FORM
TRUCKERS COVERAGE FORi\/i

With respect to coverage provided by this endorsement the provisions of the Coverage Form apply unless
modified by the endorsement

SCHEDULE

 

 

 

 

 

 

Coverage Umit Of insurance

lvledicai expenses No specific dollar amount

Funeral expenses Up to $1,750 per person

Worl< loss Up to $3,898* for any 30 day period

Replacement services $20 per day maximum

Survivors loss benefits consisting of income loss Up to $3,898* for any 30 day period subject to a $20
§ benefits and replacement services per dayl maximum for replacement services
£" Or whatever maximum amount is established by the Michigan insurance Commlssioner for accidents oc-
i currino on cr after the date of the change in maximum.

 

(if no entry appears above. information required to complete this endorsement will be shown in the Declara-
tions as applicable to this endorsement.)

A. coverage - come a_n "lnsured"_ earns during the 00 day
We will pay personal injury protection benefits to pen°gt '5 immde m d-ete"-"""""-g the '“°°me
or for an “lnsured" who sustains "bodi| injury" he"e We w path Th'S benth 'S payable for
caused by an "accldent" and resulting rom the lqu Sustained du"ng the 3 years after the aci
ownership, maintenance or use of an “auto" as §'ig:n;cl'v;t“';|iaesmr:g:eat§?;yb::§gtafgr ;';Sur::_
an "auto". These benefits are subject to the provi- cd le`ss than 3% days y p
slone of Chapter 3'| of the Michigan insurance ‘

Ccde. Persona| injury Protection benefits consist 4. Repiacement Services

of the followmg benems: Rsasonable expenses for obtaining services to
1. Madlcal Expenses replace those an "insured" would normally

‘ . have performed Without pay for himself or
Reasonable and necessary medical expenses - -
for an ..insured.$.. carey recovefy, or rehabii|. herself or dependents This benefit is payable

. . . . for loss sustained during the 3 years after the
§§t'g`rgs§h§&g?§n:g:ya ]I:J?_S§'tsa;';$i?pmm;‘;":gg&“j accident ll does not apply after an "insured"

unless special or intensive care is required. dles'

2_ Funeral Expsnses 5. Survivors loss benefits consisting of:
Reasonable funeral and burial expense a' '"°°m° '-'°ss

3 wo k Loss The contributions a deceased "insured's"

' " spouse and dependents would have re-

Upto 85% of an "insured's" actual loss of in- ceived, as dependents if the "insured"
come fro_?'i liqrroriit. We dwill pay a higher per- had riot died as a result of the "accldent".
cents e l t e "nsure " ives us reasonable .
proofgthat net income is gmore than 85% of b` R°pla°em°"t S°"|°°s
gross income. The most we will pay in any 30 Reasonable expenses for obtaining ser-
day period for this benefit is the amount vices to replace those a deceased "in-
shown in the Scheduie or Dec|arations unless sured" would have performed without pay
another amount is established by law. Any in- for his or her spouse and dependents

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The most we Wili pay in any 30 day period for
the total of survivors loss benefits is the
amount shown in the schedule unless another
amount is established by |aw. Any income an
"insured" earns during the 30 day period is in-
cluded in determining the income benefits We
will pay. These benefits are payable during
the 3 years after the "accident". but do not
apply to any loss or expense incurred after an
"insured" dies. We will prorate these benefits
for any period of less than 30 days.

Survivors loss benehts are payable during the
3 years after the "accident". A deceased “ln-
sured's" spouse must have either resided with
or been dependent on the "insured" at the
time of death. The benefits cease for a
spouse at remarriage or death. Any other de-
pendent qualifies for benefits if, at the time of
the "insured's" death, the person is under age
'iB, physically or mentally unable to earn a liv-
ing or a full-time student

E. Who ls An lnsured

‘l.
2.

You or any "famiiy member".
Anyone else who sustains "bodiiy injury":
a. Whiie "occupying" a covered "auto". or

b. As the result of an "accldent" involving
any other "auto"_cperated by you cr a
"famii member" if that “auto" is a cov-
ered 'auto" under the poiicy‘s i_iabi|ity
Coverage, or

c. Whiie not “occupying" any “auto" as a re~

suit of an "accldent" involving a covered

"auto".

C. Excluslons

We will notl pay personal injury protection bene-
fits for "bodiiy injury":

1.

2.

CAPEZD 10 01

To anyone causing intentional "bodiiy injury";

to himself. herself or anyone else.

To anyone using an “auto" he or she has
taken uniawfuiiy, unless that person reason-
ably believed he or she was entitled to use
the "auto". `

To anyone not "occupying” an "auto", if the
"accldent" takes place outside Michigan. This
exclusion does not apply to you or any "fam-
iiy member".

To you while "occupying" or struck by any
“auto" owned or registered by you which is
note covered "auto".

To the owner cr registrant of an "euto" for
which the coverage required by the Michigan
no-fauit law is not in effect

To anyone entitled to Michigan no-fauit bene-
fits as a Named insured under another policy.

10.

11.

12.

13.

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This exclusion does not apply to you or any-
one "occupying" a motorcycie.

To anyone entitled to Michigan no-faull bene-
fits as a "famiiy member" under another pol-
icy. ]'his exclusion does not apply to you cr
any “famiiy member" or anyone "occupying"
a motorcycle

To anyone while "occupying" or struck by an
"euto' (other than a covered "auto") operated
by you or a "famiiy member" if the owner or.
registrant has the required Michigan no-fault
coverage This exclusion does not apply to
you or any "famiiy member". .

To anyone while l'occupying" an “auto" lo-
cated for use as a residence or premises

Tc anyone while "occupying" a public “au-
to" (other than a covered "auto") for which
the required Michigan no-fault coverage is in
effect This exclusion does not apply to
"bodiiy injury" to you or a “famiiy member"
while a passenger in a:

a. Schooi bus;
b. Certified common wrrier;

c. Bus operated under a government spon-
sored transportation program;

d. Bus operated by or servicing a non-proht
organization;

e. Bus operated by a watercraft bicycle, or
horse livery used only to transport pas-
sengers to or from a destination point; or

f. Taxicab.

'i'c you or any "famiiy member" while “occu-
pying" an “auto" which is owned or regis-
tered by your or any "famiiy members" em-
ployer and for which the required Michigan
rio-fault coverage is in effect

To anyone while "occupying" an "euto" for
which the owner or registrant is not required
to provide Michigan no-fauit benefits and
which is operated by you or a "famiiy mem-
ber" outside Michigan. This exclusion does
not ap ly to you or a "famiiy member"; nor
does l apply under medical, or funeral ex-
pense benefits '

To any person resulting from the ownership,
operation, maintenance or use of a parked
"auto". This exclusion does not apply lf:

a. The “auto" was parked in such a way as
to cause unreasonable risk of the "bodiiy
injury". or

b. The "bodiiy injury" results from physin
contact with:

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14.

(1) Equipment permanently mounted on
the “auto" while the equipment is be-
ing us_ed, or

(2) Property being lifted onto or lowered
fiiom the "auto", or

c. The "bodiiy injury" is sustained while “oc-
cupying" the "auto".

However, Exceptions b. and c. to this exclu- -

sion do not apply to any "employee" who has
lVliohi an Wcrkers' disability compensation
bone its available and who sustains "bodiiy in-

jury" in the course of employment while load-.

ing, unloading, or doing mechanical work on
an "auto", unless the injury arises from the
use or operation of another vehicie.

To you or any "famiiy member" while "occu-
pying" a motorcycie' the owner, registrant or
operator of the “auto" involved in the "acci-
dent" has the required Michigan rio-fault cov-
erage.

D. Limit Of insurance

1.

Regardlese of the number of covered "autos"l
"insureds", premiums paid, claims made, ve-
hicles involved in the "accldent" or insurers
providing no-fault benehts, the most we will
pay for "bodiiy injury" for each "insured" in-
jured in any one "accldent" are the amounts
shown in the Scheduie.

Any amount payable under this insurance
shall be reduced by any benefits pald, payable
or required to be provided by state or federal
law except any benefits paid, payable or re-
quired to be provided by Medlcare, provided:

a. The benefits serve the same purpose as
Personal injury Protection benefits; and

b. The beneiits are provided or required to
be provided as the result of the same "ac-
cldent" for which this insurance is pay-
'able. However, this insurance shall not be
reduced if any amount of Workers' com-
pensation benefits that are required to be
providded are not available to the "in-
sure '.

Any amount payable under this insurance
shall be reduced by any deductible you eieci.
However, the deductible applies only to you
and any "famiiy member".

E. Changes in Cond|tlons

The conditions are changed for Perscnal injury
Protection as follows:

1.

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The Transfer Of Rights Of Reoovery Against
Others To Us Condition is replaced by the foi-
lowing:

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if any person or organization to cr for whom
we make payment under this Coverage Form
has rights to recover damages h'om another,
land that other person is an uninsured motor-
lst. those rights are transferred to us. That
person or organization must do everything
necessary to secure our rights and must do
phothing after "accident" or "loss" to impair
em. - -

Dutles in The Event Gf Accident, Claim, Sult
lor toes is amended by the addition of the fol-
owing:

lf requested by us, the "insured" shall furnish
a sworn statement of earnings since the "ac-
cident" and for a reasonable time prior to the
"accident".

Legal Action Against Us is amended by the
addition of the following:

No claimant may bring a legal action for per-
sonal injury protection benefits against us
more than a year after the "accident". There
are two_ exceptionsl The action may be
brought if we have been given_notice within a
year after the "accldent" or have made a pay-
ment of beneiits. in these cases, a claimant
may bring the action within a year after-the
most recent payment However, the claimant
may not recover benefits for any part of a
loss incurred more than a year before the ac-
tion was brought

The following conditions are added:
REiMBURSEMENT AND TRUST

if we make any payment and the "insured" re-
covers from another party. the "insured" shall
hold the proceeds in trust for us and pay us
back the amount we have paid. This require-
ment is subject to any applicable limitations of
Michigan law.

COORD{NAT|DN AND NDN-DUPL!CAT|ON

a. |f an "insured" is entitled to personal in-
jury protection beneiits under more than
one policyl the maximum recovery under
all policies shell not exceed the amount
payable under the policy providing the
highest dollar limit.

b. No person may recover duplicate benetits
for the same expenses or loss.

PREM|UM RECOMPUTAT|DN

Chapter 31 of the Michigan insurance Code
places certain limitations on a person‘s right
to sue for damages. The premium for the pol-
icy reflects these limitations. if a court from
which there is no appeal declares any of these

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limitations unenforceable we will have the
right to recompute the premium. '_l'he rates we
use to recompute the premium will be subject
to review by the Commissioner of lnsurance.
if you choose to delete any coverage as the
result of the court‘s decision, we will com-
pute any refund ct premium on a pro rata ba-
sis.
F. Additiona|Definitions
As used in this endorsement

'i. "Auto“ means a motor vehicle or trailer op-
erated or designed for use on public roads but
does not include a vehicle operated by mus-

cular power, a vehicle with fewer than three
wheels, a motorcyclel or a farm tractor or
other implement of husbandry which is not
subject to the registration requirements of the
Michigan Vehicle Code. This definition re~
places the definition in the policy.

' "Famiiy member" means a person related to

you by blood, marriage or adoption who is a
resident of our household, including a ward
or foster chi d.

"Occupying" means in, upon, getting in, on,
out or off.

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insert Form

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Michigan Property Protection Coverage

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insert Form

CA0138 0897

MN CHANGES

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insert Form

CA0218 0698

Minnesota Changes - Cancellation and l\ionrenewal

Case 4:05-cv-O4078-LLP ' Document 6 Flied 06/16/05 Pa"ge 69 of 89 PagelD #: 163

POLlCY NUMBERZ CA SSDSOOA COMMERGIAL AUTO
CA 21 24 09 97

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

MINNESOTA UN|NSURED AND UNDER|NSURED
MOTOR|STS COVERAGE

For a covered “auto" licensed or principally garaged in, or "garage operations" conducted in Minnesota. this
endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FCRN|
GARAGE COVERAGE FGRM

MOTOR CARR|ER COVERAGE FORM
TRUCKERS COVERAGE FOR|V|

With respect to coverage provided by this endorsement the provisions of the Coverage Form apply unless
moditied by the endorsement

 

 

 

 

 

 

 

 

SCHEDULE
’ Limit
Uninsured Motorists Coverage ii 1, 000 , 000 Each "Acc dent"
Underinsured Motorists Coverage ti l , 00 0 , oeo Eac1 "Acc dent"

 

 

(if no entry appears above, information required to complete this endorsement will be shown in the Declara-
tions as applicable to this endorsement.)

A. Coverage 4. Anyone for damages he _or sh_e is”entitlel_:i to
1. We will pay all sums the "insured" is legally recover be‘§?'-'Se °f,, b°d“Y 'nlury S'~'Sta'“ed
entitled to recover as com ensetory damages by another '"Sured '

from the owner or driver o an "uninsured mo- C. Excluslons

tor vehicie" or “underinsured motor vehicle”. - - . _
The damages must result from ¢boduy injury" This insurance does not apply to any of the fol

. ,. ,, a iowing:

sustained by the insured caused by an ac- _ _

cident". rha owners or drivers liability for 1~ Anif Gl§lm_ Settied with the owne_r Or Ol=erator

these damages must resujt from the owner_ of an uninsured motor vehicle Without our

ship, maintenance or use of the l‘uninsured consent

motor vehicie” or “underinsured motor ve- 2. The director indirect benefit of any insurer or

hicle - self-insurer under any_workels’ compensation

2. Anytjudgment for damages arising out of a disability benem$ Ol' Slm"ariaw-

“sui brought against an uninsured or under- 3. “Bodily injury" under Uninsured Motorists

insured motorist is not binding on us unless coverage if that "bodiiy injury” is abstained

we have: by;- .

a. Received reasonable notice of the com- _ a. Ycu while “occupying" or when struck by
mencement of the suit resulting in judg- a vehicle owned by you that is not a cov-
me\'lt; and ered “auto" for Uninsured Motorlsts Cov-

b. Had a reasonable opportunity to protect erage underthls Coverage F°rm;
our interests ln the “sult”. b. Any "famiiy member' while “occupying"

B_ Wh° ls An lnsured ‘ or when struck by any vehicle owned by
1 Y that “famiiy member" that is not a cov-
. ou. ered “auto for Uninsured Motorists Cov-
2. if you are an individual', any l‘famiiy member". erage under this Coverage Form; or
3. Anyone else “occupying" a covered “auto" or c. Any "famiiy memberl while “occupying"

a temporary substitute for a covered “auto". or when struck by any vehicle owned by

The covered “auto“ must be out of service you that is insured for Uninsured lViotor-

because of its breakdown, repair, servicing, lsts Coverage on a primary basis under

loss or destruction any other Coverage Form or poiicy.
HartFol'me&Sarvll:es

. RsorderNo.14-JD13
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4.

“Bodl|y injury" under Underinsured |`vlotorists
§overage, if that "bodin injury" is sustained
y:

a. You while “occupying" or when struck by
a vehicle owned by you that is not a cov-
ered l‘autr:)" for Underinsured Motorists
Coverage under this Coverage Form;

b. Any “family member" while “occupying"
or when struck by any vehicle owned by
that “family member' that is not a cov-
ered “auto' for Underinsured ivlotorists
Coverage under this Coverage Form; or

c. Any "famiiy member" while “occupying"
or when struck by any vehicle owned by
you that is insured for Underinsured Mo-
torists Coverage on a primary basis under
any other Coverage Form or policy.

Anyone using a vehicle without a reasonable
belief that the person is entitled to do sc.
However, this exclusion does not apply to a
‘“iamily member” who is not identified by
name in any other contract -for a plan of
reparation security complying with the Min-
nesota no-i‘ault insurance act. while using a
covered “auto" which is owned by you. .

Puriitive or exemplary damages

D. Limit Of insurance

1.

3.

4.

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Regardless of the number of covered “autos”,.
“lnsureds", premiums pald, claims made cir
vehicles involved in the "accident", the most
we will pay for all damages resulting from any
one "accident":

a. With an "uninsured motor vehlcie" is the
limit of Uninsured Motorists Coverage
shown in the Schedu|e.

b. With an “underinsured motor vehlc|e" is
the limit of Underinsured Motorists Cover-
age shown in the Schedule.

We will apply the limit of liability for each of
these coverages as shown in the Scheclule to
provide separate limits required by law for un-
gis'iii;ed and underinsured “bodily injury" lia-
i .

Any amounts otherwise payable for damages
under this insurance shall be reduced by ali
sums paid or payable or which would be paid
or payable except for the application of a de~
ductlbie under Perscnal injury Protectlon ap-
plicable to the same element of loss.

We will not make a duplicate payment under
this Coverage for any element of “|oss” for
which payment has been made by or for
anyone who is legally responsibie.

Nc one will be entitled to receive duplicate
payments for the same elements of "loss"
under this Coverage Fon'n. any Liabiiity Cov-

erage Form, Nledicai Payments Coverage En-
dorsement attached to this Coverage Part.

E. Changes in Condit|ons

The conditions are changed for Uninsured Mo-
torists Coverage and Underinsured iviotorists Cov-
erage as foilows:

1. The reference in Othar insurance in the Busi-

ness Auto and Garage Coverage Forms and
Other insurance == Primary And Excess insur-
ance Provisions in the Truckers and Motor
Carri_er Coverage l=orms to “other applicable
insurance" applies only to other collectible un-
insured motorists insurance and is replaced by
the iollowing:

a. With respect to coverage we provide
when a covered “auto" you own is in-
volved in an “accident", oniy:

('i) The Limit Of insurance for Uninsured
Motorists Coverage applicable to that
“auto" Wili apply for damages for
Which the owner or operator of the
"uninsured motor vehicle” is legally re-
sponsible.

{2) The Limit Of insurance for Underin-
sured Motorists _Coverage applicable
to that "aut¢)ll will apply for damages
for which the owner or operator of the
“underinsured motor vehicle" ls legally
responsible »

b. if an “lnsured" sustains l‘bodiiy injury"
while “occupying" a vehicle not owned by
that person or while not “occupying" any
vehicle, the following priorities of recov- `
ery apply:

 

First
Pi'iority

Second
Pricrity

 

The policy affording Uninsured Motor-
ists Coverage or Underinsured lVlotor-
ists Coverage to the vehicle the “ln-
sured" was “occupying’l at the time of
the "accident".

Any Coverage Form or policy afford-
ing Uninsured Motorists Coverage cr
Underinsured l\ilotorists Coverage to
the "insured" as a named insured or
family member.

 

 

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(1) Where there is no applicable insurance
available under the first priority, the
maximum recovery under all Coverage
Forms or policies in the second prior-
ity shall not exceed the highest appli-
cable limit for any one vehicle under
any one Coverage Form or poiicy.

(2) Where there is applicable insurance
available under the tirst priority:

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(a) The Limit Of insurance applicable
to the vehicle the “lnsured" was
“Oc:cupying", under the Coverage
Form or policy in the iirst priorityl
shall iirst be exhausted; and

(b) if there is other applicable insur-
ance available under one or more
policies cr provisions of ccverage:

The maximum recovery in the sec-
ond priority under all coverage
forms or policies combined may
equal but not exceed the highest
applicable limit for any one vehicle
under any Coverage Form or pol-
icy providing coverage on either a
primary or excess basis.

Any insurance we provide with re-
spect to a vehicle you do not own
shall be excess over any collecti-
ble uninsured or underinsured mo-
torists insurance providing cover-
age on a primary basis.

if the coverage under this cover-
age iorm is provided:

(i} On a primary basis, we will
pay only our share of the loss
that must be paid under insur-
ance providing coverage on a
primary basis. Clur share is the
proportion that our limit of lia~
billty bears to the total of all
applicable limits of liability for
coverage on a primary basis.

{ii) On an excess basis, We will
pay only our share of the loss
that must be paid under insur-
ance providing coverage on an
excess basis. Gur share is the
proportion that our limit of iia-
billty bears to the total Of all
applicable limits of liability for
coverage on an excess basis.

(3) We will pay only our share of the
"icss", not to exceedour share of the
maximum recovery. Our share is the
proportion that our Limit Of insurance
bears to the total of all applicable
limits in the same level of priority.

2. Duties in The Event Of Accident, Clalm, Suit
Or Loss is changed by adding the iollowing:
a. Promptiy notify the police if a hit-and-run
driver is involved; and

b. Promptiy send us copies of the legal pa-
pers if a “suit" is brought.

For an “underinsured motor vehicle“, Dutles
ln The Event Of Accident. Glaim, Suit Or Loss
is also changed by adding the foilowing:

a-

Promptiy notify us iri writing cfa tentative
settlement between the “insured” and the
insurer of an “underinsured motor vehi-
c|e". Such notice shai|:

(1) identify the “lnsured", the owner or
driver of the “underinsured motor ve-
hicle", and the insurer of the “underin-
sured motor vehicle";

{2) Disc|ose the limits of the automobile
liability insurance available to the
owner or driver of the “underinsured
motor vehic|e"; and

(Sl Disclose the agreed upon amount of
the tentative settlement and

Ailow us 30 days to advance payment to
that "insured" in an amount equal to the
tentative settlement to preserve our rights
against the insurer, owner cr operator cf
such “underinsured motor vehicle”.

3. Transfer Of Rights Of Rscovary Against
Others To Us is replaced by the following:

a.

lf any person or organizab'on to or for
whom we make payment under this Cov-
erage Form has rights to recover damages
from another, those rights are transferred
to us. That person or organization must
do everything necessary to secure our
rights and must do nothing after "acoi-
dent" or “loss" to impair them.

lt we make any payment and the “ln-
sured" recovers from another partyl the
“lns`ured" shall hold the proceeds in trust
for us and pay us back the amount we
have paid.

For an “underinsured motor vehicie",
Paragraph 3.a. of the Transfer Of Righis
Of Recovery Against Others Tc Us Con-
dition does not apply if:

(1) We have been given prompt written
notice of a tentative settlement be-
tween an “lnsured" and the insurer cf
an “underinsured motor vehicie"; and

(2) We fail to advance payment to the
"insured" in an amount equal to the
tentative settlement within 30 days
after receipt of such notification

if we advance payment to the “lnsured" in
an amount equal to the tentative settle-
ment within 30 days after receipt of-wrii-
ten notification:

(1) That payment will be separate from an
amount the "insured" is entitled to ra-
cover under the provisions of Underin-
sured lvlotorists Coverage; and

(2) We also have a right to recover the
advance payment

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4.

d. Our rights under Paragraph 3.a. of this
condition do not apply against any person
or organization insured under this or any
other Coverage Form we issue With re-
spect to the same "accldent" or "lcss".

The following condition is added:
ARBITRATlON

a. if We and an "insured’l disagree whether
the "insured” is legally entitled to recover
damages from the owner cr driver of an
"uninsured motor vehicis” or “underin-
sured motor vehicie“ or do not agree as to
the amount of“_damages that are recover-
able by that insured", then the matter
may be arbitrated. However, disputes
concerning coverage under this endorse-
ment may not be arbitrated. Either party
may make a written demand tor arbitra-
tion. Both parties must agree to arbitra»-
tion. in this event, each party will select
an arbitrator. The two arbitrators Wili se-
lect a third. li" they cannot agree within 30
days, either may re uest that selection be
made by a judge o a court having juris-
diction. Each party will pay the expenses
it incurs and bear the expenses of the
third arbitrator equally.

b. Unless both parties agree otherwise. arbi-
tration will take place in the county in
which the “lnsured" ilves. Local miss of
law as to arbitration procedure and evi-
dence will appiy. A decision agreed to by
two of the arbitrators will be binding.

F. Additional Detinitions
As used in this endorsement

1.

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“Family member" means a person related to

you by blood, marriage or adoption who is a.

resident of your hcuseho|d, including a ward
or foster child.

“Occupying" means in, upon, getting in, on,
out or off.

"Uninsured motor vehicie" means a land mo-
tor vehicle or trailer:

a. For which no liability bond cr policy attire
time ct an "accldent" provides at least the
amounts required by the applicable law

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where a covered “auto" is principally ga~
raged;

b. For which an insuring or bonding com-
pany denies coverage or is or becomes
insolvent or

c. That is a hit-and-run vehicle and neither
the driver nor owner can be identified
The vehicle must hit an “insured", a cov-
ered “auto” or a vehicle an "insured’l is
“occupying”, or must cause an "accident"
resulting in “bodiiy injury" to an "insured"
without hitting a covered “auto" or a va-
hicle an “lnsured" is “occupying".

l-lowever1 "uninsured motor vehicle" does not
include any vehicie:

a. Owned or operated by a self-insurer under
any applicable motor vehicle law, except a
self-insurer Who is or becomes insolvent
and cannot provide the amounts required
by that motor vehicle iaw;

b. Designed 't'or use mainly off public roads
while not on public roads; or

c. That is an “underinsured motor vehlcie".

. "Underinsured motor vehicie“ means a land

motor vehicle or trailer for which a bodily in-
jury liability bond or policy applies at the time
of the “accident” in limits equal to or greater
than the minimum limits specified by the Min-
nesota No-Fauit Automobile insurance Act but
its limit for "bodiiy injury" liability is not
enough to pay the iuii amount the ‘insured"
is legally entitled to recover as damages
caused by the “accident".

However, “underinsured motor vehicle" does
not include any vehicle: .

a. For which a liability bond or policy applies
at the time of the “accident" but its limit
_for bodily injury liability is less than the
minimum limit for bodily injury liability
specified by the Minnssota No-Fault Auto-
mobile insurance Act.

b. Dsslgned for use mainly off public roads
while not on public roads.

c. That is an “uninsured motor vehicie”.

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v

POLiC\" NUMBER: CA 850500}\ COMMERC|AL AUTD

, _ . CA 22 25 02 00
THIS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

M|NNESOTA PERSONAL |NJURY PROTECT|ON

For a covered "euto" licensed or principally garaged in, or "garage operations" conducted in, Minnesoia, this
endorsement modifies insurance provided under the fciiowing:

BUSiNESS AUTD COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER CDVERAGE FOP\M
TRUCKERS CO'V`ERAGE FORM

With respect to coverage provided by this endorsementl the provisions of the coverage form apply unless
modified by the endorsement '

 

j Endorsement Effective: 01/01 /04 Countersigned By

 

Named lnsured:
BROiN AND ASSOCIATES iNC

 

 

 

 

{Authorized Representative}
SCHEDULE

 

in consideration of an increase iri premium, the following Personai injury Pi'otectlon Coverage option applies
as indicated below or in the Declaretions:

[ ] The Named insured elects to add together 2 or mona Personal injuqv Protection Coverages. (Refer to
P_a_r_a_graoh 3. of the Limit Of insurance Provision.i

(if no entry appears above, information required to complete this endorsement will be shown in the Declara-
tions as applicable to this endorsement.)

 

 

 

 

A. Coverage expenses provided under Paragreph A.1.
The Company Wili pey, iri accordance With the ufthis pr°vlslon'and
Minnesota No-Fauit Automobiie insurance Act, e. Hospitai. extended care and nursing serv~

Personal injury Protection benefits incurred With
respect to "bodiiy injury" sustained by an "in-
sured" caused by an "accident'l arising out of the ted under the laws of Minnesota for an
maintenance or use of a "motor vehlc|e" as a ve'- "insured" who relies upon spiritual means
hicle,. or through being struck by a motorcycle through prayer alone.for healing iri accord-
These Personel injury Protectiori beneiits consist ance wit his or her religious beiief; how-
of the following: ever. itc tii,l]oes rTiot include expenses in ex-

cess o ose or a sami-private room, un-
1' M°di°alExP°“s°s less more intensive care is medically re-
Meens ali reasonable expenses incurred for quired.

necessary: 2. Wori< Loss
a. lVledioel, surgicai, x-ray, opticai, denta|. Means.
chiropractic and rehabilitative services, in- '
a. 85% of loss of gross income resulting

cluding prosthetic devices;
from the "insured's" inability to work on a

ices, including necessary remedial treat-,
merit and services recognized end permit-

b' Presc'ripld°n drugs regular"basis including the costs incurred

c. Ambulance and all other transportation by_en insured" who is self-employed in

expenses incurred iri traveling to receive hiring substitute employees to perform

other covered medical expense benefits; tasks which are necessary to maintain his

l . t n d l l tl or her incomel which he or she normally

d' 5 gm m Erp"tle_' ngt:" anggage t".ansa °“ performs himself or herseif. and which he

:§jr;§e§§ "; gem:er:_ ;l\§°these,r,;'r;;?‘lsre§',`§; or s_h_e cannot perform because of his or
famiiy, related to the receipt of medical herm]ury‘ or

Herthnm&Eeniices

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3.

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b. Lost unemployment benehts in an amount
equal to the unemployment benefits other-
wise payabie, if the "insured":

(‘i) is unemployed at the time of the inju-
ry and is receiving or is eligible to re-
ceive unemployment benehts: and

(2) Loses eligibility for unemployment
benefits because of his or her inability
to work caused by injury;

reduced by any income from work actual-
ly performed by the "insured", or by any
income he or she would have earned iri
available appropriate substitute work
which he or she was capable of perform-
ing but unreasonably failed to undertake

Essantiel Services Expenses

Expenses reasonably incurred during a period
commencing 8 days after the date of the acci-
dent and during the "insured's" iifetime, in
obtaining usual and necessary substitute serv-
ices iri lieu of those that, had he or she not
been injured, he or she would have performed
not for income but for the direct benefit of
himself or herself or his or her househoid; if
the non-fatally injured "insured'l normallyl as
a full time responsibility, provides care and
maintenance of a home, with or without child-
ren, the benefit is the reasoriabie value of
such care and maintenance if greater than
the expense incurred.

. Funeral Expenses

Reasonable expenses for professional funeral
and burial services including expense for cre-
matlon, or delivery under the.Minnesota Uni~
form Anatomicai Gift Act.`

Survivora' Loss
|Vieans:

a. "Loss", in the event of the death of an
"insured" occurring within one year from
the date of the "accident". of contribu-
tions of money or tangible things of eco-
nomic value, not including services, that
his or her surviving dependents would
have received from him or her for their
support during their dependency had he or
she not suffered the fatal "bodiiy injury“,
and

b. Expenses reasonably incurred by surviving
dependents after the death of an "in-
sured" in obtaining ordinary and neces-
sary substitute services in lieu of those he
or she would have performed for their
benefit had he or she not suffered the fa-
tal "bodiiy injury"; minus expenses of the
surviving dependents avoided by reason
cf such deati'i,

provided that the dependency of the surviving
spouse shall be terminated in the event such
surviving spouse remarries or dies. and the
dependency of a child who is not physically or
mentally incapacitated from earning shall be
terminated in the event he or she attains ma-
jority, marries or becomes othenivise emanci-
pated. or dies.

B. Who is An insured

'i.

The Named insured or any "famiiy member"
who sustains "bodiiy injury" while “occupy-
ing" a "motor vehicie", or while a pedestrian
as a result of an "accident" involving any
"motor vehicie“ or motorcycle

Any other person who sustains "bodiiy injury"
while “occupying" the "insured motor vehi-
cie", or while a pedestrian as a result of an
"accldent" involving the "insured motor vehi-
ce".

Any other person who sustains "bodiiy injury"
while “occupying" a "motor vehicle" not
owned b , but operated by the Named in-
sured or ' family member", other than a public
or livery ccnveyance, if the "bodiiy injury" re-
suits from the operation of the "motor vehi-
§le|: by the Named insured or "famiiy mem-
e .

C. Exciusions

We will not pay Perscnal injury Prctectlon bene-
fits for '.‘bodily injury":

1.

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Sustained by any "famiiy member" if such
"famiiy member" is entitled to Perscnai injury
Protecticn Coverage as a self-insured Or as a
Named insured under the terms of any other
Coverage Form or policy with respect to such
coverage

Sustained by any person, other than the
Named insured or "famiiy member", if such
person is entitled to Personai injury Protection
Coverage as a self-insured or as a Named in-
sured or "famiiy member" under the terms of
any other Coverage Foirn or policy with re-
spect to such coverage `

Sustained by any person arising out of the
maintenance or use cfa "motor vehicie":

a. Being used in the business of transporting
persons or property, or `

b. Fumished b the employer of the Named
insured or’ emily member",

if With respect to such vehicle the security re-
quired by the Minnesota No-Fault Automobile
insurance Act is in effect, provided that such
"bodiiy injury" is sustained while not “occupy-
ing" another involved "motor vehicle"; how-
ever, this exclusion does not apply to (l] the

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"insured motor vehicie“, (ii} a commuter van
as defined in the lv'iinnesota No-Fauit Automo-
blle insurance Act, (lil) a vehicle being used to
transport children to school or to a school
sponsored activity, (iv} a vehicle being used
to transcon children as part of a family or
group family day care program, (vi any bus,
other than a bus included as a vehicle de-
scribed in (ii), {ilt), cr (iv) above, while in oper-
ation within the state of Minnesota as to any
Minnesota resident who is an insured as de-
fined in the Minnesota No-Fault Automobiie
insurance Act, or (vi) a passenger in a taxi.

To any benefits any person would otherwise
be entitled to receive hereunder for "bodiiy ln-
jury'l intentionally caused by such person or
arising out of his or her intentionally at-
tempting to cause "bodily injury". and, if any
person dies as a result of intentionally causing
or attempting to cause "bodiiy injury" to him-
self or herself, his or her survivors are not en-
titled to any survivors‘ loss benefits.

Sustained by any person in the course of an
offlclated racing or speed contest, or in prac-
tice or preparation therefor. other than a rally
held in whole or in part upon public roads.

Sustalned by any person if such injury arises
out of conduct within the course of a busi-
ness of repairing, servicing, or otherwise
maintaining motor vehicles" unless such con-
duct occurs off the business premises

Sustained by any person if such injury arises
cut of conduct in- the course of loading or un-
loading any "motor vehicie" unless the con-
duct occurs while such person ls “occupying"
such "motor vehicie".

Sustained by any person while “occupying" a
motorcycle

.` To Fersonal injury Protectlon benefits other-

wise payable in the event that a lapse of one
year or more occurs in the period of disability
and medical treatment of an "insur " as a re-
sult of any one "accident".

10.Sustained by any person, other than the

11.

Named insured or any "famiiy member", aris-
ing out of the maintenance or use by such
person of a "motor vehicle" without a good
faith belief that he or she is legally entitled to
use such "motor vehioie".

Sustained by any person. other than the
Named insured or any "famiiy member“, while
a pedestrian through bain struck by the "in-
sured" "motor vehicle“, i the "accldent" oc-
curs outside the State of Minnesota.

12.Sustained by any person arising out of`the

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maintenance or use of a "motor vehicie" while
located for use as a residence or premises

13.Due to war, whether or not declared, civil
war, lnsurrection, rebellion or revolution, or to
any act or condition incident to any of the
foregoing.

14.Resuiting from the radioactive1 toxic, explo-
sive or other hazardous properties of nuclear
materia|.

15.With respect to work ioss, essential services
expenses and survivors' loss benefits, sus-
tained by an person, other than the Named
insured or " min member", while “occupy-
lng" any "motor vehicle", not owned by the
Named insured or "famiiy member", which is
being operated by the Named insured or
"famiiy member".

16. Sustalned by any person, other than the
Named insured or any "famiiy member", while
“occupying" a vehicle which is regularly used
in the course of the business of transporting
persons or property and which is one of five
or more vehicles under common ownership or
a vehicle owned by a government other than
the State of Minnesota, its political subdivi-
sions, _munlclpai corporations. or public agen-
cies. if the "accldent" occurs outside the
State of iviinnesota.

D. Limit Of insurance

'i. Except as provided in Paragraph 3., regardless
of the number of persons insured. policies or
plans of self-insurance applicabie, premiums
paid, claims made or "insured motor vahlcles"
to which this coverage applies, our liability for
Personal injury Protection benefits with re-
spect to "bodiiy injury" sustained by any one
"insured" in any one "motor vehicle" "acci-
dent" shall not exceed 540,000 in the aggre-
gate and subject to such aggregate:

a. The maximum amount payable for "medi-
cal expenses" shall not exceed $20,000.

b. The maximum aggregate amount payable
for work loss1 essential services ex-
penses. funeral expenses and survivors'
loss benefits shall not exceed $20,000.
Subject to this maximum aggregate:

(1) The maximum amount payable for
Work loss shall not exceed $250.00
per weel<.

i2) The maximum amount payable for es-
sential services expenses shall not ex-
ceed $200.00 per week.

(3) The maximum amount payable for fu~
neral expenses shall not exceed

(¢-'l] The maximum amount payable for sur-
vivors‘ loss benetits:

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CA 22 25 02 00

(a) With respect to Paragraph A.5.a.
of the definition of survivors' loss
benefits shall not exceed $200.00
per week; and

(l:i} With respect to Paragraph A-.5.b.
of the dennilion of survivors loss
benefits shall not exceed $200.09
per week.

2. Any amount payable by the Company under

gte terms of this coverage shall be reduced
y:

a. Any amounts pald, payable or required lo
be provided on account of such "bodiiy in-
{ury" under any_ workers' compensation
aw; except that if the "accident" involves
a "motor vehicle" used in a "ridesharing
arrangement“. this coverage shall be pri-
mary.

b. The amount of any deductible applicable
to "n'iedical expenses" set forth in this
Coverage F_crm, but only with respect to
"bodiiy injury" sustained by the Named ln-
sured or by a "famiiy member", provided
that, if two or more such persons sustain
"bodiiy injury" in the same "motor ve-
hicle’l "accident", the total amount of the
deductible applicable to all of them shall
not exceed the deductible amount stated
in this Coverage Form, and such amount
shall be allocated equally among them.

c. The amount of an deductible applicable
to work loss set_ orth in this Coverage
Form. but only with respect to "bodiiy in-
jury" sustained by the Named insured or
any "famiiy member".

. if the, Schedule or Declarations indicates that
the Named lnsured elected to add together
tiivo or more Personai injury Protection Cover-
ages, regardless of the number of persons ln-
sured, premiums paid or claims made, our lla-
blllty for Personal injury Protectlon benefits
with respect to "bodiiy injury" sustained by
any one "insured" in any one "motor vehicle"
"accldent" shall not exceed $40,000 iri the
aggregatel per "insured motor vehicle". and
subject to each such aggregate:

a. The maximum amount payable for "medl-
cal expenses" shall not exceed $2_0,000.

b. The maximum amount payable for Worl<
loss, essential services expenses1 funeral
expenses and survivors' loss benefits shall
not exceed $20,000 provided that if there
is more than orie "insured motor vehicle",
the aggregate amount applicable to one
"insured motor vehicle" shall be exhaust-
ed before essential services expenses or
survivors‘ loss benefits shall be payable

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under the aggregate Which applies to any
other "insured motor vehicle". Subject to
this maximum aggregate:

('l} The maximum amount payable for
work loss shall not exceed $250.00
perweai<.

{2) The maximum amount payable for es-
sential semices expenses shall not ex-
ceed $200.00 per weel<.

(3} The maximum amount payable for fu-
neral expenses shall not exceed

5

(4) The maximum amount payable for sur-
vivcirsF loss benehts:

(a) With respect to Paragraph A.S.a.
of the dennitlcn of survivors loss“‘
benefits shall not exceed $ZUD.UO
per weei<; and

(l:i} With respect to Paragraph A.E.b.
of the definition of survivors' loss'l
benefits shall not exceed $200.00
per week.

E. Changes in Condltions

The Conditions are changed for Personal injury
Protection as follows:

1. Dutles in The Event Of Accident, Giaim, Suit

Or Loss is replaced by the following:

a. in the event of any "accident". written no-
tice containing particulars sufficient to
identify the"l "insured", and also reasonably
obtainable information respecting the
time, place and circumstances of the "ac-
cldent" shall be given by or on behalf of
each “lnsured" to us or any of our auth-
orized agents within six months from the
date of the "accident". Failure to provide
such written notice shall not render an
"insured" ineligible to receive benefits un-
less actual prejudice ls shown by us and
then only to the extent of the prejudicel if
an "insured", his or her legal representa-
tive or his or her surviving dependents
shall institute legal action to recover dam-
ages for "bodiiy injury" against a person
cr organization who is or may be liable in
tort therefor, a copy of the summons and
complaint or other process served in con-
nection with such legal action shall be
forwarded as soon as practicable to us by
such "insured", his or her legal represen-
tative cr his or her surviving dependents

b. As soon as practicable, the "insured" or
someone on his or her behalf shall give us
written proof of claim, under oath if re-
quired. including hill particulars of the na-

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CA_ 22 25 02 00

ture and extent of the "bodiiy injury",
treatment and rehabilitation received and
ccntemplated, and such other information
as may assist us in determining the
amount due and payable. The "insured"
shall submit to physical and mental exam-
ination by physicians selected by us when
and as often as we may reasonably re-
quire. An “lnsured" who has undertaken a
procedure or treatment for rehabilitation
or a course of rehabilitative occupational
training, other than medical rehabilitation
procedure or treatment, shall notify us
that he or she has undertaken the proce-
dure, treatment or training within 60 days
after a rehabilitation expense exceeding
$1,000 has been incurred for the pro-
cedure, treatment, or training, unless we
know or have reason to know of the
undertaking if the "insured" does not
give the required notice within the pre-
scribed time, we are responsible only for
$1,000 or the expense incurred after the
notice is given and within 60 days before
the notice, whichever is greater, unless
failure to give timely notice is the result of
excusable neglect

2. Transfer Df nghts Of Recovery Against Oth-

ers To Us is replaced by the following:

Subject to any appilcable limitations set forth
in the Minnesota No-Fau|t Automobile lnsur-
ance Act, in the event of any payment under
this coverage, we are subrogated to the rights
of the person to whom or for whose benefit
such payments were made, to the extent of
such payments, and such person shall exe~
cuts and deliver instruments and papers and
do whatever else is necessary to secure such
rights Such person shall do nothing after loss
to prejudice such rights.

. Gther insurance in the Business Auto and

Garage Coverage Forms and Other insurance -
Primary And Excess insurance Provisions in
the Truckers and Motor Carrler Coverage
Forms is amended by the following:

ln the event the "insured" has other similar in-
surance including self-insurance available and
applicable to the "accident", we shall not be
liable for a greater proportion of any loss to
which this coverage applies than the Limit Of
insurance hereunder bears to the sum Of. the
applicable Limits Cif insurance of this cover-
age and such other insurance.

However, if the driver or occupant of a
"motor vehicle" sustains "bodiiy injury" white
using the vehicle in the business of trans-
porting persons or property, this insurance is
primary. .

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The Two Dr More Coverage chis Or Policies
issued Ey Us Policy Condition is replaced by
the following:

if the Schedule indicates that the Named ln-
sured elected to add together two or more
Personal injury Protection Coverages the Twc
Or lVlore Coverage Forms Or Policies issued
By Us provision in the Policy Conditions sec-
tion of the Coverage Form does not apply to
coverage afforded under this endorsement
However, no one will be entitled to receive
d|upllcate payments for the same elements of
ll ossll'

The following Condlt|ons are added:

CODRD|NATION, NDN-DUP|_.|CAT|ON AND
PR|OR|TY OF PAYMENTS

a. No "insured" shall recover duplicate bene-
fits for the same elements of "loss" under
this or any similar insurance including self-
insurance.

b. if the Schedule indicates that the Named
lnsured elected to add together two or
more_Personal injury Protectlon Coverages
and if "essential services expenses'l or
"survivors' loss" benefits are payable un-
der more than one Coverage Form or pol-
icy, the aggregate applicable to these
benefits under any one Coverage Form or
polio must be exhausted before these
bone its are payable under another Cover-
age Form cr poilcy.

c. Any amount payable under any Uninsured
Motorists Coverage afforded under this
Coverage Form or policy shall be reduced
by the amount of any Persona| injury Pro~
iection benefits paid or payable or which
would be paid or payable but for the appli-
cation of a deductible under this or any
other motor vehicle insurance Coverage
Form or policy because of "bodiiy injury"
sustained by an "insured".

RE|MBU RSEMENT AND TRUST

Subject to any applicable limitations set forth
in the Minnesota No~Fauit Automobi|e lnsur-
ance Aci, in the event Of any payment to any
person under this coverage:

a. We shall be entitled tci the extent of such
payment to the proceeds of an set-
tlement or judgment that ma resut from
the exercise of any rights o recovery of
such person against any person or organi-
zation legally responsible for the "bodiiy
injury" because of which such payment is
made; and we shall have a lien to the ex~
tent of such payment notice of which
may be given to the person cr organiza-
tion causing such "bodiiy injury"l his or

Page 5 of 6

CA 22 25 02 00

her agent, his or her insurer or a court
having jurisdiction in the matter.

b. Such arson shall hold in trust for our
benefi all rights of recovery which he or
she shall have against such other person
or organization because of such "bodiiy
injury".

c. Such person shall do whatever is proper
to secure and shall do nothing after loss
to prejudice such right; and

d. Such person shall execute and deliver to
us instruments and papers as may be ap-
propriate to secure the rights and obliga-
tions of such person and us established
by this provision.

CONST|TUTIONAL|TY CLAUSE

The premium for and the coverages of the
policy have been established in reliance upon
the provisions of the Minnesota No-Fault
Automobile insurance Act. in the event a
court of competent jurisdiction declares or
enters a judgment the effect of which is to_
render the provisions of such act invalid or
unenforceable in whole or in part, we shall
have the right to recompute the premium
payable for the policy and the provisions of
this endorsement shall be voidable or subject
to amendment at our option.

F. AddltlonaiDetinitlons
As used in this endorsement
1. "Famiiy member" means the spouse or any

person related to the Named insured by
blood, marriage or adoption, including a minor
in the custody of the Named insured, spouse
or such related person who is a resident of
the same household as the Named insured

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whether or not temporarily residing eise-
where.

"insured motor vehicle" means a "motor vehi-
cle'l with respect to which:

a. The "bodiiy injury" ilabi!lty insurance of
the Coverage Form or policy applies and
for which a specitic_premium is charged,
and

b. The “named insured" is required to
maintain security under the provisions of
the Minnesota No-Fault Automobile insur-
ance Act.

"i\i|otor vehic|e" means every vehicle, other
than a motorcycle or other vehicie with fewer
than four wheels, which:

a. is required to be registered pursuant to
Minnesota Statutes, Chapter 158, and

b. is designed to be self-propelled by an en-
gine or motor for use primarily upon pub-
lic roads, highways or streets in the trans-
portation o persons or property, and in-
cludes a trailer with one or more wheels,
when the trailer is connected to or being
towed by a "motor vehlcie".

"Occu ying" means in or upon. entering into
or a|ig ting from.

"Ridesharing arrangement" means the trans-
portation of ersons, for a fee or otherwise in
a "motor ve icle" when the transportation is
incidental to another purpose of the driver.
The term includes the forms of shared trans-
portation known as carpools, commuter van-
pools and buspoois whether or not furnished
by an employer. it does not include transpor-
tation of employees by an employer from one
place to another.

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For a covered “auto" licensed or
this endorsement modifies insuran

COMMERC|AL AUTO
CA 01 23 10 01

Ti-us ENooRsEMENT cHAneEs THE Poi_ic~r. FLEAsE REAn ir cAnEFuLLY.
SOUTH DAKOTA CHANGES

BUS|NESS AUTO COVERAGE FORM

BUSiNESS AUTO PH"\"SICAL DAMAGE COVERAGE FORM

GARAGE COVERAGE FORM ,
MOTOR CARR|ER CDVERAGE FORM
TRUCKERS CO\;‘ERAGE FORN| '

With respect to coverage provided under this en
modified by the endorsement

A. Changes in Physical Damage Coverage

1.

2.

CA 0123 10 01

The “Diminution in Value" exclusion does not
EPPW-

The Limit of insurance provision with respect
to repair or replacement resulting in better
than like kind or quality is replaced by the fol-
lowing, and supersedes any provision to the
contrary:

We may deduct for betterment f_rom the
amount we pay for the “loss" only if the re-

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principally garaged in, or “garage operations" conducted in, South Dakota,
ce provided under the following:

dorsement. the provisions of the Coverage Form apply unless

pair or replacement results in an increase in
the fair market value of the vehicle.

Betterment as used in this provision means
the difference between:

a. The fair market value of the vehicle before
the “ioss"; and'

b. The fair market value et'- the vehicle after
repair or replacement

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POLlC'i’ NUMBER'. CA BEUEOUA COMMERC|AL A.UTG

CA 21 41 04 01
TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

SOUTH DAKOTA UN|NSURED AND UNDER|NSURED
MOTOR|STS COVERAGE

This endorsement modifies insurance provided under the following:

BUSINESS AUTC| COVERAGE FORM
GARAGE COVERAGE FORM

MDTOR CARRlER COVERAGE FORM
TRUCKERS GOVERAGE FORM

With respect to coverage provided by this endorsement the provisions of the Coverage Form apply unless
modified by the endorsement

This endorsement changes the policy effective on the inception date of the policy unless another date is indi-
cated below.

 

` Endorsement Effective: 01 101 /04 Countersigned By

 

Named lnsured: `
BRO|N AND ASSOCIATES lNC i

 

 

 

 

(Authorlzed Representative)

 

 

scHEouLs
Limit
_uNleuREo ivioToRiSTs covERAGE $ 1. ooo, one EACH "ACCiDEN'i"'
§
uNoERiNsuREo MoToRisTs cchRAeE $ 1. oao, doc EACi-l "ACciDi'-_'NT"

 

 

 

 

(lf no entry appears above, information required to complete this endorsement will be shown in the Declara~
tions as applicable to this endorsement.)

A. Coverage

1. We will pay all sums the "insured" is legally - l - - .
entitled to recover as compensatory damages §§ neg°t'at'°ns resu|tmg m settlement
from the owner or driver of an "uninsured" or
“underinsured motor vehicle“. The damages b. Had a reasonable opportunity to protect

must result from "bodiiy inju " sustained by our interests in the "sult“ or settlement
the "insured" caused by an ‘accident". The 5 wh { A l d
owner's or driver's liability for these damages ' ° s " “5"'°

must result from the ownership, maintenance if the Named insured is designated in the De¢iara.

a. Received reasonable notice of the penden-
cy of the "Sutt“ resulting in judgment or

or use of_t|he "uninsured" or “underinsured tions as:
m°t°r\_'eh'°e' _ 1. An individual, then the following are "in-
2. if this insurance provides a limit in excess of sureds":

the amounts required by the applicable law

CA 21 41 04 01

where a covered “auto" is principally garaged.
we Wil| pay only after all liability bonds or pol-
icies have been exhausted by payment of
judgments or settlements

No iudgment for damages arising out cf a
"Sui " brought against or settlement entered
into With, the owner or operator of an "unin-
sured motor vehicle" or an llunderinsured mo-
tor vehicle“ is binding on us unless we:

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a. The Named insured and any "famiiy mem-
bers".

b. Annyone else “occupying" a covered "au-
to or a temporary substitute for a_ cov-
ered "auto". The covered “auto" must be
out of service because of its breakdown,
repair, servicing, "loss" or destruction

c. Anyone for damages he or she is entitled
to recover because of "bodiiy injury" sos-
talned by another “insured".

Hari: Forms & Serv|sal
Reorder Nc. 14-DSBB

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2.

A partnership, limited liability company, cor-
poration or any other form of organization.
then the following are "insureds":

a. Anyone “occupying" a covered “auto" or
a temporary substitute for a covered "au-
to". The covered “auto" must be out cf
service because of its breakdown. repair,
servicing, "loss" or destruction

b. Anyone for damages he or she is entitled
to recover because of "bodiiy injury" sus-
tained by another "insured".

G. Excluslons
This insurance does not apply tc:

1.
2.

CA 21 41 04 01

Punitive or exemplary damages.

The direct or indirect benefit cf any insurer or
self-insurer under any workers' compensation,
disability benedts or similar law.

"Bodily injury" sustained `by:

a. An individual Named insured while “occu-
pying" or when struck by any vehicle
owned by that Named insured that is not
a covered “auto" for Uninsured Motorists
Coverage under this Coverage Form;

b. Any "famiiy member" while “occupying"
or when struck by any vehicle owned by
that "famiiy member" that is not a cov-
ered "auto' for Uninsured Motorists Cov-
erage under this Coverage Form; or

c. Any "famiiy member" while “occupying"
or when struck by any vehicle owned by
the Named insured that is insured for Un-
insured Motorists Coverage on a primary
basis under any other Coverage Form or
policy.

"Bodin injury" sustained by:

a. An individual Named insured while “occu-
pying" or when struck by any vehicle
owned by that Named insured that is riot
a covered “auto" for Underinsured Motor-
lsts Coverage under this Coverage Form;

b. Any "famiiy member" while lloccupying"
or when struck by any vehicle owned by
that "famiiy member" that is not a cov-
ered “auto" for underinsured Motorists
Coverage under this Coverage Fom'i; or

o. Any "family member" while l'occupying"
or when struck by any vehicle owned by
the Named insured that is insured for Un-
derinsured lvlotorists Coverage ori a pri-
mary basis under any other Coverage
Form or policy.

Anyone using a vehicle without a reasonable
belief that the person is entitled to do so.

D. Limit 01 insurance

1. Regardless of the number of covered "autos",
"insureds", premiums paid, claims made or
vehicles involved iri the "accident", the most
we will pay for all damages resulting from any
one "eccident” is the applicable limit of Unin-
sured Motorlsts Coverage and Underinsured
ivlotorists Coverage shown in the endorse-
ment Scheduie. However, subject to the pro-
visions in D.1.a. and b. below, in the case of
an "accldent" involving both an "uninsured
motor vehicle" and an “underinsured motor
vehicle", the most we will pay is both the lim-
it of Uninsured Motorists Coverage and the
limit of Underinsured Motorists Coverage
shown in the endorsement Schedule.

a. The limit entry for Uninsured Moton'sts
Coverage in the endorsement Schedule
applies only to "uninsured motor vehicles"
as defined in Paragraph F.3. of the Addi-
tional Definitlons Sectlon.

b. The limit entry for Underinsured Motorists
Coverage in the endorsement Schedule
applies only to “underinsured motor vehi-
cles" as defined in Paragraph F.4. of the
Additional Definitions Section.

2. No one will be entitled to receive duplicate
payments for the same elements of 1'loss".

Ws will not make a duplicate payment under
this Coverage for any element of "loss" for
which payment has been made by or for any-
one who is legally responsiblel including all
sums paid under this Coverage Fonn‘s Lia-
bllity Coverage.

We will not pay for any element of "loss" if a
person is entitled to receive payment for the
same element of "loss" under any workers'
loompensation, disability benefits or similar
aw.

3. With respect to damages resulting from an
"accidientll with an “underinsured motor vehi-
c|e“, the limit of liability shall be reduced by
all sums paid by or for anyone who is legally
responsible including all sums paid under this
Coverage Fom'i's Liabillty Coverage.

4. Any amount paid under this coverage Wili re-
duce any amount an "insured" may be paid
under this Coverage Form's Liabi|ity Cover-
age.

E. Changes in Condit|ons

The following Gondition is changed for Uninsured
Motorists Coverage only: -

Transfer Of nghts_ Of Recovery Agalnst Others
To Us is replaced by the following:

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if We make any payment and the "insured" re-
covers trom another party, the "insured" shall
hold the proceeds in'lJ'ust for us and pay us back
the amount we have paid.

The Conditions are changed for Uninsured And~

Underinsured Nlctorists Coverage as follows:

1.

CA 21 41 04 01

Other insurance iri the Business Auto and Ga-
rage Coverage Forms and Ol:l'ier insurance -
Primary And Excess insurance Provisions in
the Truckers and iviotor Carrier Coverage
Forms is replaced by the following:

|l" there is other applicable insurance available
under one or more policies or provisions of
coverage:

a. The maximum recovery under all Cover-
age Fon'ns or policies combined may equal
but not exceed the highest applicable limit
for any one vehicle under any Coverage
Form or policy providing coverage on ei-
ther a primary or excess basis.

b. Any insurance we provide with respect to
a vehicle the Named insured does not
own shall be excess over any other col-
lectible uninsured or underinsured motor-
ists insurance providing coverage ori a pri-
mary basis.

c. lf the coverage under this coverage form
is provided: `

(1} On a primary basis, we Wili pay only
our share of the loss that must be
paid under insurance providing cover-
age on a primary basis. Our share is
the proportion that our limit of liability
bears to the total of all applicable lim-
its of liability for coverage on a pri-
mary basls.

(2) On ari excess basis, We will pay only
our share ot the loss that must be
paid under insurance providing cover-
age on an excess basis. Our share is
the proportion that our limit of liability
bears to the total of all applicable lim-
its of liability for coverage on an ex-
cess basis.

Dutles ln The Event Of Accident, Claim, Suit
Or Loss is changed by adding the following:

a. Promptly notify the police if a hit-and-run
driver is lnvolved, and

b. Promptly send us copies of the legal pa-
pers if a “suit" is brought.

The following Condition is added:
ARBlTRATION

a, if we and an "insured" disagree whether
the "insured" ls legally entitled to recover

"u” "'“ “'

damages from the owner or driver of an
"uninsured motor vehicle" or “underin-
sured motor vehicle" or do not agree as to
the amount of damages that are recover-
able by that "insured", then the parties
may agree to arbitration However, dis-
putes concerning coverage under this en-
dorsement may riot be arbitrated. if both
parties agree to arbitrate, each party will
select an arbitrator. The two arbitrators
will select a third. if they cannot agree
within 30 days, either may request that
selection be made by a judge of a court
having jurisdiction Each party will pay the
expenses lt incurs and bear the expenses
of the third arbitrator equally.

b. Unless both parties agree otherwise, arbi-
tration Will take place iri the county in
which the "insured" lives. Local rules of
law as to arbitration procedure and evi-
dence will apply. A decision reached by
two of the arbitrators will not be binding
on either party.

F. Addltional Definitions
As used iri this endorsement

1.

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"Famiiy member" means a person related to
an individual Named insured by blood, mar-
riage or adoption Who is a resident of such
Named lnsured's househo|d, including a ward
or foster child.

"Occupying" means iri, upon, getting in, on,
out or off.

"Uninsured motor vehicle" means a land mo-
tor vehicle or "trailer":

a. For which no liability bond or policy at the
time of an "accldent" provides at least the
amounts required by the applicable law
where a covered “auto" is principally ga-
raged, or

b. For which an insuring or bonding compa-
ny denies coverage or is or becomes ln-
solvent, or

c. Which is a hit-and-run vehicle and neither
the driver nor owner can be identified or
which causes an "accldent" resulting iri
"bodiiy injury" without hitting an 'in-
sured'. a covered “auto" or a vehicle an
"insured" is "occupying".

However, “uninsured motor vehicle" does not

include any vehicle:

a. Owned or operated by a self-insurer under
any applicable motor vehicle |aw, except a
self-insurer who is or becomes insolvent
and cannot provide the amounts required
by that motor vehicle law;

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b. Owned by a governmental unit or agency;

c. Designed for use mainly off public roads
while not on public roads.

4. "Underinsured motor vehicle" means a land
motor vehicle or "trailer" to which a liability
bond or policy applies at the time of an "acoi-
dent", but the amount paid for "bodiiy injury"
to an “lnsured" under that bond or polio is
not enough to pay the full amount the 'in-
sured" le legally entitled to recover as ciam-
ages.

However, “underinsured motor vehicle" does
not include any vehicle:

3.

Owned or operated by a self-insurer under
any applicable motor vehicle law;

b= aned by a governmental unit or agenoy;
c. Designed for use mainly off public roads

while not on public roads;
Which is an "uninsured motor vehicle"; or

e. For which an insuring or bonding com-

pany denies coverage or is or becomes in-
solventl

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TH|S ENDORSEMENT CHANGES YOUR POL|CY. PLEASE READ IT CAREFULLY.

EARL|ER NOT|CE OF CANCELLATION PROV|DED BY US

This endorsement modifies insurance provided under the following

Boiler and Machinery Coverage Part

Commerclal Automobile Coverage Part

Commercia| Crime Coverage Form/Commercia| Crime Poticy
Commercial General Liabi|ity Coverage Part

Ccmmercial inland Marine Coverage Part

Commercial F'roperty Coverage Part

Commercial Output Policy - Property Coverage Part
Commerclal Output Policy - lncome Coverage Part

Workers' Compensation and Employers‘ Liability Coverage Part

T he following replaces the notification portion of the Cance|lation provisions of all coverage
parts and sections provided by this policy:

We may cancel this policy by delivering to the tirst Named insured written notice of
cancellation or nonrenewal at least:

A. 10 days before the effective date of Cancellation or Nonrenewal if we cancel or
nonrenew due to the lnsured's non-payment of premium; or

B. 60 days before the effective date of Cancellation or Ncnrenewal if we cancel or
nonrenew for any other reason.

ALL OTHER CGNDlT|ONS AND PROV|S!ONS OF» THE POLIC|ES REMAIN UNCHANGED BY
TH|S ENDORSEMENT.

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October 15, 2004

M_r. Scott Heidepriem, Attorney at Law

lohnson Heidepriem Miner Marlow and Janklow LLP
PO Box 1107

Sioux Falls SD 57101-1107

Re: lnsured: Broin and Associates
Your- client Patrick Banmgartner
Our File No: 219217

Dear Mr. Heidepriern:

This letter is to let you know that the handling of the above matter has been transferred to me. As I have
just received the file, my review is not complete However, from my initial review Inote your client’s
underinsured motorist (UIM) claim. '

Prom my initial review of the policy, Farmland Mutual lnsurance Company provided UIM coverage with
$1,000,000 limits applicable to the vehicle, and Mr. Baumgarnter would be an insured. The amount
owing, if any, however, is to be determined As a starting point in evaluating the UIM claim, lam asking
for a copy ofthc medical records in your possession as well as a signed medical authorization from your
client. '

Sincerely yours,

jar/tea

Stuart Shkolnick

Comxnercial Claims Specialist
Farmland Mutual lnsurance Company
1 100 Locust St Dept 3010

Des Moines lA 50391-3010

(515) 267-0431

Fax (SOO) 842-1482

Exi-ueir

 

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EXH|B|T

 

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RELEASE AND INnEi\/nvrrv AGREEMENT

FOR AND IN CONSDJERATIGN of the payment of One Hundred Fifty Thousand
Dollers ($150,000), paid by or on behalf of Adam Wiersma, Paul Wiersma, and Glce Wiersma
(“Wicrsmas") and Depositors lnsurance Company (“Depcsitors"), the receipt and sufficiency of
which is hereby acknowledged the undersigned dc hereby for themselves, their heirs, personal
representatives, and assigns5 fully and forever release mid discharge Wiersmas and Depositors
from all claims, actions, and demands whatsoever, that now oidst or may hereafter accrue,
including all claims, actions and demands whatsoever based on matters now unlmown, as well as
lmown, and unanticipated1 as well as anticipatedg in any manner Whatsocvcr, directly or
indirectly, resulting or to result nom a motor vehicle accident on March 17, 2004, in Gccrgc,
lowa, involving a motor vehicle operated by Adam Wiersma l

The undersigned do hereby bind themselves individually, as Well as their heirs,
administrators executors, successors and assigns, to repay Wiersmas and Dcpositors, or its
parent or subsidiary corporation, or its hcirs, administrators cxccutors, successors and assigns,
any additional sum of money that Wiersmas and Deposito_rs may hereafter be compelled to pay
on account of the injury to Pal:ricl< Baumgarmer on March 17 2004, and the expenses incurred
thereaner because of any action or inaction on the part of any parties lt 1s acknowledged by all
parties hereto that a policy of underinsurance coverage is in place to supplement the coverage
afforded the Baumgartners, issued by Farmlancl Mutual lnsurance Company in the amount of
31,000,000. Nothing in this agreement limits or ccniines the Baumgartners’ access to those
bcneits. .Prior to the releasc, the said underinsured carrier was put on notice to either substitute
its draft (to retain subrogation rights against Releasccs hereunder) or to Waive those rights The
parties acknowledge that the underinsurer has waived those rights.

IT IS FURTHER. AGR_EED that'in the event the above action is tried either to a Court or

a jury that Wiersmas and Depositcrs shall have no obligation whatsoever to advocate any
position for Patriclc Baun‘lgattncr.

IT IS FURTI-IER AGREED by Pattiolr Baumgartner that he shall hold the parties hereby
released harmless and indemnify them from any and all claims of any other pcrsons, t`lrms,
corporations, or cntities, whether for contribution or indemnity, which arise out of the above-
described injuries Pan'iclc Baumgarl:ncr suffered on March 17, 2004, and the expenses incurred
by Patricl: Baumgartner thereaftcr, it being specihcally understood that there shall be 110-

, obligation on the part of any ct` the parties hereby released to defend or prosecute those matters
further in connection with any said claim for contribution or indemnity

The undersigned agree to bc responsible for payment of any and all claims for
subrogation or reimbursement or t`or health care expenses that may have arisen as a result of the
motor vehicle accident The undersigned agree to defend, indemnit`y, and hold the parties hereby
released from any such claims or expenses

This R_elcase contains the entire agreement between the parties hereto and’the terms ot` l
this Release are contractual and not a mere recital

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The undersigned state that they have carefully read the foregoing Release and lndeninity
Agreement and know and understand the contents thereof and have signed the same as their own
free act.

Dated this¢°: °‘h day of September, 2004

 

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l-" 'a":-»',':f#’”:- .-'aeri ';r;=~gf,.- -.»‘.!»1: ./'*
Patricl<:“Baunigartner

(l:imidr.»\;," j§aa. now "L:"‘\

l_l;arnie B‘aumgartner \/

 

STATE OF SOUTH DAKOTA )

lSS
COUNTY OF MH*JNEHAHA ]

On this, the S'h day of September, 2004, before me, the undersigned ofncer, personally
appeared Patrick Baumgartner and Jamie Baumgartner, known to me or satisfactorily proven
to be the persons whose names are subscribed to the Within instrument and acknowledged that
they executed the same for the purposes herein contained

IN WITNESS WHEREOF Ihereunto set my hand and official seal

1 zant /"xra/f,lj-/j/°¢/JW

:Not'ary Pubg?d South Dals;ota
My Cornmission Expiresz .luly 15 , 2009

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